         Case 6:17-bk-07077-KSJ    Doc 206   Filed 08/23/18    Page 1 of 45




                      UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION
                              www.flmb.uscourts.gov



In re:                                          Chapter 11

Ingersoll Financial, LLC,                       Case No. 6:17-bk-07077-KSJ

         Debtor.
                                         /




         PLAN OF LIQUIDATION UNDER CHAPTER 11 OF THE
 UNITED STATES BANKRUPTCY CODE FOR INGERSOLL FINANCIAL, LLC




                                  August 23, 2018




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     Case 6:17-bk-07077-KSJ   Doc 206   Filed 08/23/18   Page 2 of 45




PURSUANT TO SECTION 1125 OF TITLE 11 OF THE UNITED STATES CODE,
NOTHING CONTAINED IN THIS PLAN SHOULD BE CONSTRUED AS
CONSTITUTING A SOLICITATION OF ACCEPTANCES OF THE PLAN UNTIL
SUCH TIME AS THE DEBTOR’S DISCLOSURE STATEMENT (AS DEFINED
HEREIN) HAS BEEN CONDITIONALLY OR FINALLY APPROVED BY AN ORDER
OF THE UNITED STATES BANKRUPTCY COURT FOR THE MIDDLE DISTRICT OF
FLORIDA, ORLANDO DIVISION, AND DISTRIBUTED, WITH APPROPRIATE
BALLOTS, TO ALL HOLDERS OF CLAIMS AGAINST AND EQUITY INTERESTS
IN THE DEBTOR ENTITLED TO VOTE ON THE PLAN. THE DEBTOR RESERVES
THE RIGHT TO FILE AN AMENDED OR AN AMENDED AND RESTATED PLAN
AND AN AMENDED OR AN AMENDED AND RESTATED DISCLOSURE
STATEMENT FROM TIME TO TIME HEREAFTER. REFERENCE IS MADE TO
SUCH DISCLOSURE STATEMENT FOR A DISCUSSION OF THE DEBTOR’S
HISTORY, BUSINESS, PROPERTIES, AND OPERATIONS, A SUMMARY OF THE
MEANS OF IMPLEMENTING AND FUNDING THE PLAN, AND THE
PROCEDURES FOR VOTING ON THE PLAN. ALL HOLDERS OF CLAIMS
AGAINST AND EQUITY INTERESTS IN THE DEBTOR ARE HEREBY ADVISED
AND ENCOURAGED TO READ THE DISCLOSURE STATEMENT AND THE PLAN
IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS AND OTHER
ACTIONS OR THREATENED ACTIONS, THE PLAN AND THE DISCLOSURE
STATEMENT SHALL NOT BE CONSTRUED AS AN ADMISSION OR
STIPULATION, BUT RATHER AS A STATEMENT MADE IN SETTLEMENT
NEGOTIATIONS.




                                  2
           Case 6:17-bk-07077-KSJ          Doc 206     Filed 08/23/18      Page 3 of 45




                                        INTRODUCTION

       INGERSOLL FINANCIAL, LLC (the “Debtor”), as the Debtor and the Debtor in
Possession in the Liquidation Case, proposes this plan (the “Plan,” as more particularly defined
below) for the liquidation of the Debtor and the resolution of the outstanding Claims against and
Equity Interests in the Debtor pursuant to the provisions of Chapter 11 of the Bankruptcy Code,
and requests confirmation of the Plan pursuant to Section 1129 of the Bankruptcy Code. The Plan
provides for the payment of Claims in accordance with Article VI hereof. The distributions under
the Plan will be funded by the sale of substantially all of the Debtor’s assets.

         Under Section 1125(b) of the Bankruptcy Code, a vote to accept or reject the Plan cannot
be solicited from the Holder of a Claim or Equity Interest until such time as the Debtor’s Disclosure
Statement for Plan of Liquidation under Chapter 11 of the United States Bankruptcy Code for
INGERSOLL FINANCIAL, LLC (the “Disclosure Statement,” as more particularly defined
below) has been approved by the Bankruptcy Court and distributed to Holders of Claims and
Equity Interests. The Debtor’s Disclosure Statement was conditionally approved by the
Bankruptcy Court in the Disclosure Statement Approval Order, which is being distributed
simultaneously with the Plan to all Holders of Claims and Equity Interests whose votes are being
solicited. The Disclosure Statement contains, among other things, (a) a discussion of the Debtor’s
history, business, property, and operations, (b) a summary of significant events which have
occurred to date in the Liquidation Case; (c) a summary of the means of implementing and funding
the Plan, and (d) the procedures for voting on the Plan. Other than the Disclosure Statement and
any exhibits and schedules and documents attached thereto or referenced therein, no materials have
been approved by the Debtor for use in soliciting acceptances or rejections of the Plan. ALL
HOLDERS OF CLAIMS AGAINST THE DEBTOR ENTITLED TO VOTE ON THE PLAN
ARE ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN
THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

        Subject to certain restrictions and requirements set forth in Section 1127 of the Bankruptcy
Code and Bankruptcy Rule 3019, and those restrictions or modifications set forth in Article X
hereof, the Debtor expressly reserves the right to alter, further amend, further modify, revoke or
withdraw the Plan, one or more times, prior to the Plan’s substantial consummation.

     NOTWITHSTANDING ANYTHING HEREIN TO THE CONTRARY, UNLESS
OTHERWISE STATED, ALL STATEMENTS IN THE PLAN AND IN THE ACCOMPANYING
DISCLOSURE STATEMENT CONCERNING THE HISTORY OF THE DEBTOR’S
OPERATIONS, THE PAST OR PRESENT FINANCIAL CONDITION OF THE DEBTOR,
TRANSACTIONS TO WHICH THE DEBTOR WAS OR IS A PARTY, OR THE EFFECT OF
CONFIRMATION OF THE PLAN ON HOLDERS OF CLAIMS AGAINST THE DEBTOR ARE
ATTRIBUTABLE EXCLUSIVELY TO THE DEBTOR AND NOT TO ANY OTHER PARTY.

      THE PLAN AND THE DISCLOSURE STATEMENT HAVE NOT BEEN REQUIRED
TO BE PREPARED IN ACCORDANCE WITH FEDERAL OR STATE SECURITIES LAWS OR
OTHER APPLICABLE NON-BANKRUPTCY LAW. ALL PERSONS OR ENTITIES SHOULD
EVALUATE THE PLAN AND THE DISCLOSURE STATEMENT IN LIGHT OF THE
PURPOSES FOR WHICH THEY WERE PREPARED.

                                                 3
            Case 6:17-bk-07077-KSJ            Doc 206       Filed 08/23/18      Page 4 of 45




                                  ARTICLE I - DEFINED TERMS

       A.      Definitions. For purposes of this Plan, the following definitions shall apply unless
the context clearly requires otherwise. All of the definitions set forth in Section 101 of the
Bankruptcy Code are incorporated herein as though set forth herein in their entirety. If a defined
term contained herein is inconsistent with the definition set forth in Section 101 of the Bankruptcy
Code, the defined term set forth herein shall be superseded by the definition set forth in Section
101.

               1.      Administrative Expense shall mean a cost or expense of administration of the
Chapter 11 Case allowed under §§503(b) and 507(a)(2) of the Bankruptcy Code.

                 2.      Allowed when used with respect to a Claim or Interest, shall mean a Claim or
Interest (a) proof of which was filed with the Bankruptcy Court on or before the Bar Date, and (i) as to
which no objection has been filed by the Objection Deadline, unless such Claim or Interest is to be
determined in a forum other than the Bankruptcy Court, in which case such Claim or Interest shall not
become allowed until determined by Final Order of such other forum and allowed by Final Order of the
Bankruptcy Court; or (ii) as to which an objection was filed by the Objection Deadline, to the extent allowed
by a Final Order; (b) allowed by a Final Order; or (c) listed in the Debtor's schedules filed in connection
with this Chapter 11 Case and not identified as contingent, unliquidated, or disputed.

                  3.       Auction Properties are listed in Exhibit A. These properties have marketable
title and shall be sold at auction through the Plan.

               4.      Bankruptcy Rules mean the Federal Rules of Bankruptcy Procedure, as
amended, and as supplemented by the Local Rules of Practice and Procedure of the Bankruptcy Court, as
amended.

                5.       Bar Date shall mean the date fixed by order of the Bankruptcy Court by which a
proof of Claim or Interest must be filed against the Debtor.

                6.       Bankruptcy Code shall mean 11 U.S.C. §101 et seq., and any amendments thereto.

                7.     Bankruptcy Court shall mean the United States Bankruptcy Court, Middle District
of Florida, Orlando Division, and any court having competent jurisdiction to hear appeals or certiorari
proceedings therefrom.

                 8.      Claim shall mean, as defined in §101(5) of the Bankruptcy Code: (a) any right to
payment from the Debtor, whether or not such right is reduced to judgment, liquidated, unliquidated, fixed,
contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured or unsecured; or (b) any
right to an equitable remedy for breach of performance if such breach gives rise to a right of payment from
the Debtor, whether or not such right to an equitable remedy is reduced to judgment, fixed, contingent,
matured, unmatured, disputed, undisputed, secured or unsecured.

                9.        Class means a group of Claims of Interests substantially similar to each other as
classified under this Plan.

                10.      Confirmation Date shall mean the date of entry of the Confirmation Order.


                                                     4
            Case 6:17-bk-07077-KSJ             Doc 206      Filed 08/23/18       Page 5 of 45




                11.      Confirmation Order shall mean the order entered by the Bankruptcy Court
confirming the Plan.

                  12.      Contested when used with respect to a Claim or Interest, shall mean a Claim or
Interest that is not an Allowed Claim or Interest.

                 13.      Disallowed when used with respect to a Claim or Interest, shall mean a Claim or
Interest to the extent 10 days has expired since it has been disallowed by order of the Bankruptcy Court,
unless proper application for a stay of such order has been made within such 10 day period, in which case
the Claim or Interest shall be disallowed 30 days after entry of the order disallowing such Claim or Interest,
unless prior to the expiration of such period, a stay is obtained with respect to the order disallowing the
Claim or Interest.

                 14.    Disclosure Statement means the disclosure statement of the same date as this Plan
that was filed by the Debtor and approved by the Bankruptcy Court pursuant to Bankruptcy Code Section
1125 and any amendments thereto, including all exhibits.

                 15.     Effective Date shall mean: (a) if no stay of the Confirmation Order is in effect,
then the date which a Business Day selected by the Debtor which is not more than thirty (30) days following
the date of the Confirmation Order; or (b) if a stay of the Confirmation Order is in effect, then the date
which is a Business Day selected by the Debtor which is not more than thirty (30) days following the date
the stay is vacated or any appeal, rehearing, remand or petition for certiorari is resolved in a manner that
does not reverse or materially modify the Confirmation Order.

                16.     Final Order means an order of the Bankruptcy Court, which order shall not have
been reversed, stayed, modified or amended and the time to appeal from or to seek review or rehearing of
such order shall have expired and which shall have become final in accordance with applicable law.

                17.      Interest means the equity interests in the Debtor.

                  18.     Petition Date shall mean November 07, 2017, the date on which the petition for
relief was filed in the Chapter 11 case.

                19.     Plan shall mean this Chapter 11 plan, as amended in accordance with the terms
hereof or modified in accordance with the Bankruptcy Code.

                20.      Priority Non-Tax Claim shall mean a Claim entitled to priority pursuant to
§§507(a)(3), 507(a)(4), 507(a)(5), 507(a)(6) or 507(a)(7) of the Bankruptcy Code.

                21.    Priority Tax Claim shall mean a Claim entitled to priority pursuant to §507(a)(8)
of the Bankruptcy Code.

                 22.      Pro Rata Share means the ratio that the amount of a particular Allowed Claim or
Interest bears to the total amount of Allowed Claims or Interests of the same class, including Contested
Claims or Interests, but not including Disallowed Claims or Interests, as calculated by the Debtor as of the
Distribution Date.

                23.     Remaining Properties are listed in Exhibit B. The title to these properties has been
determined to be such that the Debtor does not believe they are appropriate to be sold at auction.


                                                      5
            Case 6:17-bk-07077-KSJ             Doc 206      Filed 08/23/18       Page 6 of 45




                 24.      RS Lending Claims means the Allowed Secured Claims of RS Lending, Inc.,
which are comprised of (i) proof of claim no. 16 in the amount of $2,875,863.96, and (ii) proof of claim no.
17 in the amount of $2,696,489.15, which claims are deemed Allowed Secured Claims to the full extent set
forth in such proofs of claims.

                25.     RS Lending Settlement means the Compromise and Settlement Agreement by and
among the Debtor, RS Lending, the Debtor’s principal Keith Ingersoll and the Ingersoll Financial Midwest
Land Trust entered into as of May 24, 2018 and approved by the RS Lending Settlement Order.

                26.    RS Lending Settlement Order means the Order entered bv the Bankruptcy Court
on July 9, 2018 (Doc. No. 163) approving the RS Lending Settlement Agreement.

               27.    Sale Procedures Order means that certain Order of the Bankruptcy Court
Authorizing and Scheduling (A) A Public Auction for the Sale of Assets, Free and Clear of Liens, Claims
and Encumbrances; (B) Approving Procedures for the Submission of Bids; (C) Scheduling a Hearing to
Consider Approval of Such Sale; and (D) Approving the Form and Manner of Notice of the Sale and
Bidding Procedures Pursuant to Fed. R. Bankr. P. 2002 entered by the Bankruptcy Court on August 15,
2018 (Doc. No. 200).

                28.      Secured Claim shall mean a Claim secured by a lien against property in which the
Debtor has an interest, or which is subject to setoff under §553 of the Bankruptcy Code to the extent of the
value (determined in accordance with §506(a) of the Bankruptcy Code) of the interest of the holder of such
Claim in the Debtor's interest in such property or to the extent of the amounts subject to such setoff, as the
case may be.

              29.      Unsecured Claim means a Claim other than an Administrative Expense, a Priority
Non-Tax Claim, a Priority Tax Claim, or a Secured Claim.

         B.      Bankruptcy Code Definitions. Definitions in the Bankruptcy Code and Bankruptcy Rules
shall be applicable to the Plan unless otherwise defined in the Plan. The rules of construction in Bankruptcy
Code §102 shall apply to the Plan.

         C.       Interpretation. Unless otherwise specified, all section, article and exhibit references in
the Plan are to the respective section in, article of, or exhibit to, the Plan, as the same may be amended,
waived, or modified from time to time. The headings in the Plan are for convenience of reference only and
shall not limit or otherwise affect the provisions hereof. Words denoting the singular number shall include
the plural number and vice versa, and words denoting one gender shall include the other gender. As to
contested matters, adversary proceedings, and other actions or threatened actions, this Plan and the
Disclosure Statement shall not be construed as a stipulation or admission, but rather, as a statement made
in settlement negotiations.

        ARTICLE II - CONTROLLING LAW AND RULES OF CONSTRUCTION

       A.        Reference to Bankruptcy Code and Bankruptcy Rules. Any capitalized term
used in the Plan that is not defined in the Plan but that is defined in the Bankruptcy Code or the
Bankruptcy Rules will have the meaning ascribed to that term in the Bankruptcy Code or the
Bankruptcy Rules, as the case may be. In the instance of a conflict or ambiguity, the Bankruptcy
Code or the Bankruptcy Rules, as applicable, will control.


                                                      6
           Case 6:17-bk-07077-KSJ           Doc 206      Filed 08/23/18       Page 7 of 45




       B.        Rules of Construction. For purposes of the Plan, the following rules of
construction will apply:

                1.      Whenever from the context it is appropriate, each term, whether stated in
the singular or the plural, will include both the singular and the plural.

                2.      Any reference in the Plan to a contract, instrument, release, indenture, or
other agreement or document being in a particular form or on particular terms and conditions
means that such contract, instrument, release, indenture or other agreement or document will be
substantially in such form or substantially on such terms and conditions.

              3.      Any reference in the Plan to an existing document or exhibit means such
document or exhibit as it may have been or may be amended, modified or supplemented.

               4.      If the description in the Plan of the terms of an Exhibit is inconsistent with the
terms of the Exhibit, the terms of the Exhibit will control.

                5.     Unless otherwise specified, all references in the Plan to Articles and Exhibits
are references to Articles and Exhibits of or to the Plan.

                6.     Unless the context requires otherwise, the words “herein,” “hereunder,” and
“hereto” refer to the Plan in its entirety rather than to a particular article or section or subsection
of the Plan.

              7.      Any phrase containing the term “include” or “including” will mean
including without limitation.

               8.     All of the Exhibits referred to in the Plan will be deemed incorporated herein
by such reference and made a part hereof for all purposes.

                9.     Any reference to an Entity as a Holder of a Claim or Equity Interest includes
that Entity’s successors and assigns.


                        ARTICLE III - TREATMENT OF
             ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS

       A.      Nonclassification. In accordance with Section 1123(a)(1) of the Bankruptcy Code,
Administrative Expenses and Priority Tax Claims have not been classified in the Plan. The
treatment accorded to Administrative Expenses and Priority Tax Claims is set forth in this Article
III.

       B.      Administrative Expenses. Except as otherwise provided in the Plan, each Holder
of an Allowed Administrative Expense will be paid (a) on the Effective Date, an amount, in Cash,
equal to the Allowed Amount of its Administrative Expense, in accordance with Section
1129(a)(9)(A) of the Bankruptcy Code, (b) under such other terms as may be agreed upon by both
the Holder of such Allowed Administrative Expense and the Debtor or Reorganized Debtor, or (c)
                                                   7
            Case 6:17-bk-07077-KSJ          Doc 206     Filed 08/23/18      Page 8 of 45




as otherwise ordered by a Final Order of the Bankruptcy Court. Except as set forth in the RS
Lending Settlement Agreement, the RS Lending Settlement Order or the Sale Procedures Order,
no Holder of an Allowed Administrative Claim shall be entitled to payment from the proceeds of
the Auction Properties or of the Remaining Properties ahead of payment of the Allowed RS
Lending Claims.

        C.     Fees and Charges. All fees and charges assessed against the Estate under Chapter
123 of Title 28, United States Code, 28 U.S.C. §§1911-1930, through the Confirmation Date, as
determined by the Bankruptcy Court in the Confirmation Order, will be paid on or before the
Effective Date.

        D.        Applications for Allowance of Administrative Expenses. Except as provided
herein, all Holders of Administrative Expenses (including Holders of any Claims for non-ad
valorem post-petition federal, state, or local taxes) that do not file an application or other
Bankruptcy Court-approved pleading by the Administrative Expense Bar Date will be forever
barred from asserting such Administrative Expense against the Debtor, the Reorganized Debtor,
or any of their respective Properties.

                ARTICLE IV - DESIGNATION OF CLASSES OF CLAIMS
            FOR CLAIMS NOT RELATED TO THE RS LENDING PROPERTIES

        A.     In General. Pursuant to Section 1122 of the Bankruptcy Code, set forth below is
a designation of Classes of Claims. A Claim is classified (a) in a particular Class only to the extent
the Claim qualifies within the description of that Class and (b) in a different Class to the extent the
Claim qualifies within the description of that different Class. Unless otherwise expressly stated,
the Classes of Claims set forth below include all Claims that qualify within the description of that
Class.

       B.      Classes. For purposes of this Plan, Claims are classified as follows:

               1.      Class 1 is comprised of all allowed Priority Claims.

               2.     Class 2 is comprised of the Allowed Secured Claims with regard to property
located at 231 Lexington Drive, Daytona Beach, FL 32114:

                       a.      Class 2a for the first mortgage of Islandrulz, LLC
                       b.      Class 2b for the second mortgage of Islandrulz, LLC
                       c.      Class 2c for the claim of Chipco Group, LLC
                       d.      Class 2d for the claim of Volusia County Tax Collector
                       e.      Class 2e for the claims of City of Daytona Beach Code Enforcement

               3.      Class 3 is comprised of all Allowed Secured Claims with regard to the
property located at 9201 South Bay Dr., Orlando, FL 32819:




                                                  8
            Case 6:17-bk-07077-KSJ       Doc 206      Filed 08/23/18    Page 9 of 45




                      a.     Class 3a for first mortgage of Islandrulz, LLC
                      b.     Class 3b for the claim of Chipco Group, LLC
                      c.     Class 3c for the claim of Orange County Tax Collector
                      d.     Class 3d for the claim of Orange County Code Enforcement Board
                      e.     Class 3e for the claim of South Bay Homeowner’s Association, Inc.

               4.     Class 4 is comprised of all Allowed Secured Claims with regard to the
property located at1620 E. Gore Street, Orlando, FL 32806:

                      a.     Class 4a for the first mortgage of Leyli 37, LLC
                      b.     Class 4b for the second mortgage of Michael LaFay
                      c.     Class 4c for the claim of Chipco Group, LLC
                      d.     Class 4d for the claim of Orange County Tax Collector
                      e.     Class 4e for the claims of City of Orlando

               5.      Class 5 is comprised of all Allowed Secured Claims with regard to the
property located at 8484 Bay Hill Blvd., Orlando, FL 32819:

                      a.     Class 5a for the first mortgage of Chondrite Asset Trust
                      b.     Class 5b for the claim of Chipco Group, LLC
                      c.     Classes 5c and 5d for the claims of Orange County Tax Collector
                      d.     Class 5e for the claim of Bay Hill Property Owners Association

               6.     Class 6 is comprised of all Secured Claims to the property located at 1922
College Circle South, Jacksonville, FL 32209:

                      a.     Classes 6a through 6e for the claims of Duval County Tax
Collector
                      b.     Class 6f for the claims of City of Jacksonville

               7.    Class 7 is comprised of all Secured Claims with regard to the property
located at 4759 Bayside Drive, Jacksonville, FL: Classes 7a through 7c for the claims of Santa
Rosa Tax Collector.

               8.     Class 8 is comprised of the claim of GreatAmerica Financial Services.

               9.     Class 9 is comprised of all Allowed General Unsecured Claims.

               10.    Class 10 is comprised of all Insider Unsecured Claims

               11.    Class 11 is comprised of all Equity Interests.




                                                9
          Case 6:17-bk-07077-KSJ         Doc 206     Filed 08/23/18     Page 10 of 45




               ARTICLE V - DESIGNATION OF CLASSES OF CLAIMS
             FOR CLAIMS RELATED TO THE RS LENDING PROPERTIES

       A.       Auction Properties. Classes 12 through 223 are comprised of claims related to the
properties listed on Exhibit A (Auction Properties). Within each numbered class, there are
subclasses comprised of the holders of:

                1.     (subclass a) any unknown parties in possession of the property;
                2.     (subclass b) unpaid tax claims, if any;
                3.     (subclass c) municipal or county assessments for code violations or similar
assessments, if any;
                4.     (subclass d) claims for utilities, if any;
                5.     (subclass e) any miscellaneous liens or assessments not included in the
subclasses above; and
                6.     (subclass f) the RS Lending Claims.
Holders in a given subclass of each Class of Claims with respect to the Auction Properties, if
any, are identified on Exhibit A.

        B.      Remaining Properties. Classes 224 through 227 are comprised of claims related
to the properties listed on Exhibit B (Remaining Properties). Within each numbered class, there
subclasses comprised of the holders of:

               1.     (subclass a) any unknown parties in possession of the property;
               2.     (subclass b) unpaid tax claims, if any;
               3.     (subclass c) municipal or county assessments for code violations or similar
assessments, if any;
               4.     (subclass d) claims for utilities, if any;
               5.     (subclass e) any miscellaneous liens or assessments not included in the
subclasses above; and
               6.     (subclass f) the RS Lending Claims.

Holders in a given subclass of each Class of Claims with respect to the Remaining Properties, if
any, are identified on Exhibit B.

 ARTICLE VI - TREATMENT OF CLASSIFIED CLAIMS AND EQUITY INTERESTS

        A.     In General. Claims and Equity Interests will be treated under the Plan in the
manner set forth in this Article VI. Except as otherwise specifically provided in the Plan, the
treatment of, and the consideration to be received by, Holders of Allowed Claims pursuant to the
Plan will be in full and final satisfaction, settlement, release, extinguishment, and discharge of
their respective Allowed Claims, of any nature whatsoever.


                                               10
             Case 6:17-bk-07077-KSJ          Doc 206       Filed 08/23/18       Page 11 of 45




      B.      Unclassified Claims. Each Holder of an Allowed Administrative Expense or an
Allowed Priority Tax Claim will receive the treatment set forth in Article III hereof.

       C.      Class 1: Priority Claims. Class 1 is comprised of all Allowed Priority Claims.
Each Holder of an Allowed Priority Claim will receive (a) on the Effective Date, an amount, in
Cash, equal to the Allowed Amount of its Priority Claim, in accordance with Section
1129(a)(9)(B) of the Bankruptcy Code, or (b) payment under such other terms as may be agreed
upon by the Holder of such Allowed Priority Claim and the Debtor or Reorganized Debtor. Class
1 is Unimpaired. Each Holder of a Priority Claim in Class 1 is presumed to have accepted the
Plan and, therefore, is not entitled to vote to accept or reject the Plan. Except as set forth in the
RS Lending Settlement Agreement, the RS Lending Settlement Order or the Sale Procedures
Order, nothing in this Plan or the Confirmation Order shall give the Holder of an Allowed Priority
Claim the right to be paid out of the proceeds of the Auction Properties or the Remaining
Properties ahead of the payment of the Allowed RS Lending Claims.

        D.      Claims on Properties Not Acquired with RS Lending Financing.

               1.      Classes 2 through 5. The automatic stay has been lifted on properties in
Classes 2 through 5 and are being foreclosed upon by the first mortgage holders on those
properties. The Debtor believes that all of these creditors will be paid through the foreclosure
process or are in rem claims that will be extinguished in the foreclosure. If any of the holders of
Claims in Classes 2 through 5 file a claim for a deficiency prior to confirmation, they shall have a
claim in Class 9. Classes 2 through 5 are Impaired and are entitled to vote to accept or reject the
Plan.

                 2.     Classes 6 and 7. The two properties related to Classes 6 and 7 shall be
sold in the ordinary course of the Debtor’s business and the claims in these classes paid from the
proceeds of the sale. Any excess proceeds shall be used to pay holders of Unsecured Claims in
Class 9, if any. Should they not sell in a reasonable period of time, they shall be abandoned. The
holders of these claims are in rem and shall have no claim against the estate if an abandonment
occurs. Classes 6 and 7 are Impaired and are entitled to vote to accept or reject the Plan.

                3.      Class 8: GreatAmerica Financial Services (“Great America’). Class 8 is
comprised of the Allowed Secured Claim of GreatAmerica Financial Services by virtue of a lien on office
equipment. GreatAmerica’s Allowed Class 8 claim shall be paid in accordance with its contract terms.
GreatAmerica shall retain its Lien on the collateral until the Allowed Class 8 Claim has been paid in full.
Class 8 is Unimpaired and is not entitled to vote to accept or reject the Plan.

                4.       Class 9: General Unsecured Claims. This class of claims consists of
unsecured deficiency claims. Holders of Allowed Class 9 Claims, if any exist, shall be paid from
the proceeds of the Debtor’s properties in Duvall and Santa Rosa Counties in the state of Florida.
Class 9 is Impaired and is entitled to vote to accept or reject the Plan.

                5.      Class 10: Insider Unsecured Claims. Class 10 is comprised of all insider
unsecured claims. Claims shall not receive any distributions under the Plan until Class 10 is paid
in full. Class 10 is Impaired and is entitled to vote to accept or reject the Plan.


                                                     11
           Case 6:17-bk-07077-KSJ           Doc 206      Filed 08/23/18      Page 12 of 45




                 6.   Class 11: Equity Interests. Class 11 is comprised of all Equity Interests in
the Debtor. Holders of Allowed Class 11 Claims shall not receive any distributions under the Plan
until all Allowed Claims are paid in full. Class 11 is Impaired and is entitled to vote to accept or
reject the Plan.

      E.    Claims Related to the Properties Purchased Through Loans 1 And 2 from
RS Lending.

                Classes of Claims Related to the Auction Properties (Classes 12 through 223,
                including Subclasses).

                Treatment of subclasses:

              1.      Subclass (a) Unknown Parties in Possession. All parties in possession of
the property will be divested of possession and shall take nothing under the plan. Title to each
respective Auction Property will be vested in the Successful Bidder with respect to such Property
upon closing and after Court approval.

                2.      Subclass (b) Property tax claims.

                        a.      Allowed property tax claims will be paid in full. As set forth below,
if the Attributable Sales Price for an Auction Property is not sufficient to pay the Allowed Property
Tax Claims, that property will be withdrawn from the Auction, and purchase price reduced
accordingly.

                         b.       If the Subclass (b) property tax claim has been the subject of a tax
sale or a tax certificate sale, the Debtor takes the position that title remains in the bankruptcy estate
and the Allowed Tax Claim is a claim against the estate. See Encore Assets LLC v Woodley 579
B.R. 630 (Bankr N.D. Ga. 2007). Accordingly, it shall be treated as a claim against the estate and
will be redeemed and paid and the claim of the tax deed holder of the tax certificate holder shall
be removed.

               3.      Subclasses (c) (d) and (e). Holders of claims in these subclasses must file a
claim that establishes that it is a secured claim. If there is no lien, they are nonrecourse and will
not be Allowed. The sale of the property in the open market through the auction will set the value
of each Auction Property pursuant Section 506(a) of the Bankruptcy Code and determine the value
of each claim for purposes of Section 363(f)(3) of the Bankruptcy Code. If the claim does not
attach to equity as determined by the priority of the filings and the value of the subject of the
Auction Property, it will not be paid.

               4.     Subclass (f) RS Lending. RS Lending shall be paid in an amount up to the
amount of the RS Lending Claims from the sale proceeds of the Auction Properties and the
Remaining Properties according to the distribution of proceeds set forth below and consistent with
the Sale Procedures Order. The RS Lending Claims were finally Allowed by the RS Lending
Settlement Order and shall be treated as Allowed for all purposed under this Plan. To the extent
there are inconsistencies between this Plan and the RS Lending Settlement Order (and the RS

                                                   12
          Case 6:17-bk-07077-KSJ          Doc 206      Filed 08/23/18      Page 13 of 45




Lending Settlement Agreement approved in the Order) the terms of the RS Lending Settlement
Order (and the RS Lending Settlement Agreement approved in the Order) shall govern. The liens
and mortgages securing the Allowed RS Lending Claims shall continue to attach to the collateral
for the Allowed RS Lending Claims notwithstanding any other term of this Plan, including the
provisions of Article VII, subparagraph B. To the extent the proceeds of the sale of the Auction
Properties and the Remaining Properties are insufficient to satisfy the Allowed RS Lending Claims
in full, RS Lending shall have an Allowed unsecured claim which shall be paid from net proceeds
of liquidation of any other Assets of the Estate which revest in the Reorganized Debtor.

               The Method of Sale for the Auction:

               1.      The Debtor shall a conduct the Auction through sealed bids.

               2.      The Auction will be conducted in accordance with the following Method of
Sale:

                       a.     In order to derive the best offer and sale of the Auction Properties,
the Auction Properties will be offered as a whole, in subgroups by State, and in other subgroups
according to the type and condition of the properties as determined in the business judgment of the
Broker to generate the highest price for the Auction Properties.

                       b.      To qualify, each prospective purchaser (collectively, the “Bidders”)
will provide to Broker a $10,000 cash deposit and proof, satisfactory to Broker, of available funds
required to close escrow for each group of Properties. For Bidders qualifying for more than eight
groups of Properties, the required cash deposits may be limited to $80,000.

                      c.     The Broker shall accept binding, sealed bids by a date certain on the
Auction Properties as a whole and as subgroups by State. The top 33.3% of all bids received
(“Qualifying Bidders”) will be approved to move to the highest and best round. This approval
may take into account a bulk bid or any combination thereof.

                       d.      Forty-eight (48) hours after qualifying, or such other time as may be
determined by Broker, each Qualifying Bidder shall submit a second “highest and best” binding,
sealed bid together with a fully executed purchase agreement.

                      e.     Broker shall then submit the highest and best bids to the Debtor for
acceptance or rejection in consultation with RS Lending. Each accepted bid will result in a
“Successful Bidder.”

                       f.        Each Successful Bidder shall make an earnest money deposit equal
to ten (10%) of the contract price (the “Deposit”) within twenty-four (24) hours of the first business
day after being notified it is a Successful Bidder. The initial $10,000 cash deposit may be applied
to the Deposit. A hearing to confirm the results of the Auction and each Successful Bidder will be
held immediately following the Auction (the “Sale Approval Hearing”).




                                                 13
          Case 6:17-bk-07077-KSJ          Doc 206      Filed 08/23/18     Page 14 of 45




                       g.      Each Sale will close within thirty (30) days after the Sale Approval
Hearing, or such later date as may be agreed to by Debtor, after consultation with RS Lending, at
which time each Successful Bidder will pay the balance of the purchase price.

                       h.      The Successful Bidders will pay any title insurance premium.

                     i.      The Deposit shall be applied by the Debtor against the purchase
price to be paid by the Successful Bidder at the closing of the transaction. In the event the
Successful Bidder does not close said transaction by reason of its breach of the terms of its
agreement with the Debtor, the Deposit shall be retained by the Debtor.

                       j.      The stipulated purchase price for each Property sold as part of a
group shall be the determined by multiplying the accepted bid price for the group by a fraction
with the numerator being the 2017 assessed value for that Property and the denominator being the
2017 assessed value of all lots in the group (the “Attributable Purchase Price”). Absent agreement
between the Debtor and RS Lending to keep such a Property in the sale, if a Property’s Attributable
Purchase Price does not exceed its outstanding ad valorem taxes plus Attributable Administrative
Costs (as defined in paragraph 20 below), such Property shall be removed from sale, shall no
longer be an Auction Property, and the accepted bid amount shall be reduced by the Attributable
Purchase Price for the Property.

                        k.      All Bidders shall be deemed to have consented to the core
jurisdiction of the Court and to have waived any right to a jury trial in connection with any disputes
relating to the Auction and/or the sale of the Auction Properties. All Bidders shall be bound by
their bids until such time as the Court has entered an order approving the sale(s) to the Successful
Bidder(s); provided, however, the Successful Bidder(s) will be bound by their bids until 5:00 p.m.
(Eastern Time) on the day subsequent to the scheduled closing date of the sale to the Successful
Bidder. If, for any reason, a Successful Bidder is unable to consummate a transaction within thirty
(30) days after the Sale Approval Hearing, or such later date as may be agreed to by Debtor after
consultation with RS Lending, the Successful Bidder’s Deposit shall be paid to the Debtor. If for
any reason the Debtor cannot close, the Deposit will be returned to the Successful Bidder.

               3.      Subject to any appropriate proof provided at the Sale Approval Hearing, all
Bidders participating in the Auction shall be deemed to be purchasing the Property in good faith,
and each Successful Bidder shall be afforded the special protections provided in Bankruptcy Code
§ 363(m) and shall not be affected by any subsequent appeal reversing or modifying of the order
authorizing this sale.

                4.      The provisions of FRBP 6004(h) notwithstanding, the order approving the
sale will be effective upon entry and will not be stayed.

               5.      All Sales shall be subject to Court approval at the Sale Approval Hearing.

               6.      All liens set forth in Exhibit A and Exhibit B are in rem claims against the
related Property. The value of each Property under Section 506(a) of the Bankruptcy Code and the

                                                 14
           Case 6:17-bk-07077-KSJ         Doc 206      Filed 08/23/18     Page 15 of 45




maximum value of the claims on each Property for the purposes of 363(f)(3) of the Bankruptcy
Code shall be determined by the Attributable Purchase Price less the Attributable Administrative
Costs (as defined below Paragraph 21).

              7.      The Attributable Purchase Price less Attributable Administrative Costs (as
defined below) shall determine the value of each Property under Section 506(a) of the Bankruptcy
Code, and shall determine the value of the claims on each Property for the purposes of 363(f)(3)
of the Bankruptcy Code.

             8.     All proceeds from the sale of the Auction Properties shall be placed in
escrow with BCHH, Inc.

               9.       All gross proceeds of the sale (the “Gross Proceeds”) shall be distributed by
the Escrow Agent from escrow as soon as practicable after the entry of an order approving the sale
and be distributed in the following order:

                       (A)     First, to pay the following costs (the “Overall Administrative
Costs”):

                               (1)    All Broker’s fees as allowed by the Court;

                             (2)     All title and escrow fees and costs borne by the Debtor under
the purchase agreement(s) and as allowed by the Court;

                                (3)     Allowed administrative expenses of the estate under sections
507(a)(2) and 503(b) of the Bankruptcy Code that have not been paid by the Debtor’s principal
prior to the sale, but only to the extent such administrative expenses could have been surcharged
against RS Lending under the standards of section 506(c) of the Bankruptcy Code; and

                              (4)     Funding of a reserve equal to ten percent (10%) of the Gross
Proceeds of the sale for Allowed Administrative Expenses related to the administration of the
Claims asserted against the sale proceeds (the “Claims Administration Reserve”).

The amounts distributed in (A)(1) through (A)(4) attributable to each Property will be determined
by multiplying the total Overall Administrative Costs by a fraction with the numerator being the
2017 assessed value for that Property and the denominator being the 2017 assessed value of all
Properties sold in the Auction (the “Attributable Administrative Costs”).

                       (B)     Second:

                               (1)     to pay for each Property without disputed secured claims,
and in an amount not to exceed that Attributable Purchase Price for the Property less the
Attributable Administrative Costs, payoff of any Allowed Claims secured by the Property sold,
including but not limited to prorated ad valorem property taxes;

                              (2)      for each Property with disputed secured claims but with a
large enough Attributable Purchase Price to cover (i) the Attributable Administrative Costs, (ii)
the disputed secured claims, and (iii) the Allowed Claims secured by the property sold,
                                                 15
          Case 6:17-bk-07077-KSJ           Doc 206      Filed 08/23/18     Page 16 of 45




                                       (a) to pay the Allowed Claims for the Property, and

                                      (b) to place into a separate account, sufficient funds to
provide for any disputed Claim secured by Property sold free and clear of such senior claim, lien
or interest, with such disputed claim, lien or interest to attach to respective sale proceeds for the
Property against which the disputed lien, claim or interest is asserted (a “Disputed Lien Claim
Reserve Account”).

                                (3)      for each Property with disputed secured claims but without
a large enough Attributable Purchase Price to cover (i) the Attributable Administrative Costs, (ii)
the disputed secured claims, and (iii) the Allowed Claims secured by the Property sold, place into
a Disputed Lien Claim Reserve Account an amount equal to the Attributable Purchase Price less
Attributable Administrative Costs to provide for any disputed Claims secured by Property sold
free and clear of such claim, lien or interest, with such disputed claim, lien or interests and Allowed
Claims to attach to the account.

                     (C)     Third, remaining proceeds for all Properties shall be distributed to
RS Lending for application to, and not to exceed, the RS Lending Claims.

                       (D) Fourth, after the claims in paragraphs (A) through (C) are paid in
full, any remain proceeds will be paid to the Debtor and, if the Plan has been confirmed, shall be
administered under the terms of the Plan.

                        (E)     To the extent funds are released from the Disputed Lien Claim
Reserve Accounts or from the Claims Administration Reserve, such funds shall be distributed to
RS Lending (or to the Debtor if all claims have been paid in full) within fifteen (15) calendar days
after entry of an order releasing such funds from the Disputed Lien Claim Reserve Account or the
Claims Administration Reserve, unless such order is stayed.

                10.     The Debtor, or any other party in interest, shall have thirty days from
September 7, 2018, the deadline set by the Court for creditors to file a proof of claim (Doc. no.
170) to file an objection to any disputed Claim. The objections will be filed with the Court and
may be served under thirty (30) days’ negative notice under the negative notice procedures in the
local rules for the Bankruptcy Court for the Middle District of Florida. If a response to the
objection is filed, the objection shall be set for hearing promptly. Upon the resolution of Claims
as to each Property, distribution of the net proceeds for that Property shall be made according to
paragraph 9 above.

                11.    The foregoing is a summary of, or is excerpted from, the Sale Procedures
Order and the Exhibits to the Sale Procedures Order and to the extent the terms of this Plan are
inconsistent with the Sale Procedures Order the terms of the Sale Procedures Order (including its
Exhibits) shall govern.




                                                  16
             Case 6:17-bk-07077-KSJ           Doc 206       Filed 08/23/18       Page 17 of 45




                 Classes of Claims Related to the Remaining Properties (Classes 224 through
                 227 and Subclasses).

                1.     The Remaining Properties have attributes of title and physical condition
such that the Debtor, after being advised by Broker and Escrow Agent, believes that sale by
auction is not appropriate.

                2.      The Debtor shall market and sell the Remaining Properties separately with
the cooperation and approval of RS Lending by private sale, offering a three percent commission
to buyer’s brokers. The Court shall reserve jurisdiction should the Debtor seek further relief
from the Court to approve or close a sale. The distribution of the gross proceeds of any such sale
shall be made in the same manner as set forth for distribution of the proceeds of the Auction
Properties set forth above. The Remaining Properties which do not sell within a reasonable period
of time, and after consultation with the Broker and RS Lending, shall, after notice and hearing,
be abandoned.

        F.       Exemption from Transfer and Stamp Taxes. Pursuant to Section 1146(a) of the
Code, the issuance, transfer or exchange of any security under this Plan or the making or delivery of any
instrument of transfer pursuant to, in implementation of, or as contemplated by, this Plan or the re-vesting,
transfer or sale of any real or personal property of the Debtor pursuant to, in implementation of, or as
contemplated by, this Plan (including but not limited to the transfer of the Auction Properties and of the
Remaining Properties as contemplated by this Plan and the Sale Procedures Order, including transfers
through corrective deeds) shall not be taxed under any state or local law imposing a stamp tax, transfer
tax or similar tax or fee.

                                     ARTICLE VII
                        MEANS OF IMPLEMENTATION OF THE PLAN

       A.       General Overview of the Plan. The distributions under the Plan will be funded
principally by the sale of the Debtor’s property.

       B.       Vesting of Certain Assets of the Estate in the Debtor. On the Effective Date,
except as otherwise expressly provided in the Plan and subject to reservation of jurisdiction by the
Bankruptcy Court over Assets of the Estate as necessary to implement all aspects of the Sale
Procedures Order and disposition of all proceeds of the Auction Properties and the Remaining
Properties, all Assets of the Estate (including the Causes of Action) shall vest in the Reorganized
Debtor, free and clear of any and all Liens, Debts, obligations, Claims, Cure Claims, Liabilities,
encumbrances, and all other interests of every kind and nature, and the Confirmation Order shall so
provide. As of the Effective Date, the Reorganized Debtor shall be responsible for the operation of the
business, the management of the Assets, the pursuit of Causes of Action, the payment of Allowed Clams,
and such other duties imposed by the Plan and the Confirmation Order. All privileges with respect to the
Assets of the Debtor’s Estate, including the attorney-client privilege, to which the Debtor is entitled shall
automatically vest in, and may be asserted by or waived on behalf of, the Reorganized Debtor.




                                                      17
            Case 6:17-bk-07077-KSJ         Doc 206     Filed 08/23/18      Page 18 of 45




        C.      Corporate Existence. The Debtor will continue to exist after the Effective Date as
an LLC, with all of the powers of a for profit corporation under applicable law in the State of
Florida and pursuant to its articles of organization and bylaws or other organizational documents
in effect prior to the Effective Date, without prejudice to any right to terminate such existence
(whether by merger, dissolution or otherwise) under applicable law after the Effective Date. On
the Effective Date, title to the Assets shall vest in the Reorganized Debtor.

        D.      Management of the Reorganized Debtor Following the Effective Date. On and
after the Effective Date, the operation and management of the Reorganized Debtor shall be the
responsibility of Keith Ingersoll, Managing Member of Ingersoll Financial LLC From and after
the Confirmation Date, the Reorganized Debtor shall have all powers accorded by law to put into
effect and carry out the Plan and the Confirmation Order.

        E.      Corporate Action. All matters provided for under the Plan involving the corporate
structure of the Debtor, or any corporate action to be taken by or required of the Debtor, shall, as
of the Effective Date, be deemed to have occurred and be effective as provided herein, and shall
be authorized and approved in all respects without any requirement for further action by the
director(s) of the Debtor.

       F.      The Debtor has obtained title reports on the Properties to identify all holders of
claims and interests (“Claimants”) in the Properties. The Debtor has employed BMC Group, Inc.
as Noticing Agent to serve the Claimants and to administer the Proofs of Claims and Interests.

                               ARTICLE VIII
                PROCEDURE FOR ALLOWING CLAIMS OR INTERESTS

The Debtor has scheduled all Claims that appear of record and are listed in the search conducted
by BCHH. The Court has set a claims bar date for claimants for September 7, 2018. The Debtor
and other parties in interest shall have thirty days from the claims bar date to file an objection to
any Claim, other than to an Allowed Claim. The objections will be filed with the court and may
be served under thirty days negative notice under the negative notice procedures in the local rules
for the Bankruptcy Court for the Middle District of Florida. If a response to the objection is filed,
the objection shall be set for hearing.

       A.      Pursuit of Causes of Action.

                1.      Except as provided in the RS Lending Settlement Agreement, on the
Effective Date, the Causes of Action shall be vested in the Reorganized Debtor, except to the extent
a Creditor or other third party has been specifically released from any Cause of Action by the terms
of the Plan or by a Final Order of the Bankruptcy Court, provided, however, the right to pursue
Causes of Action shall vest in the Reorganized Debtor. The Reorganized Debtor will have the
rights, powers and privileges, to pursue, not pursue, settle, release or enforce any Causes of Action
without seeking any approval from the Bankruptcy Court. The Debtor is not currently in a position
to express an opinion on the merits of any of the Causes of Action or on the recoverability of any
amounts as a result of any such Causes of Action. Any party in interest that engaged in business or
other transactions with the Debtor Prepetition or that received payments from the Debtor
Prepetition may be subject to litigation to the extent that applicable bankruptcy or non-bankruptcy
                                                  18
          Case 6:17-bk-07077-KSJ            Doc 206      Filed 08/23/18      Page 19 of 45




law supports such litigation.

                  2.     No Creditor or other party should vote for the Plan or otherwise rely on the
Confirmation of the Plan or the entry of the Confirmation Order in order to obtain, or on the belief
that it will obtain, any defense to any Cause of Action. No Creditor or other party should act or
refrain from acting on the belief that it will obtain any defense to any Cause of Action.
ADDITIONALLY, THE PLAN DOES NOT, AND IS NOT INTENDED TO, RELEASE ANY
CAUSES OF ACTION OR OBJECTIONS TO CLAIMS, AND ALL SUCH RIGHTS ARE
SPECIFICALLY RESERVED IN FAVOR OF THE DEBTOR. Creditors are advised that legal
rights, claims and rights of action the Debtor may have against them, if they exist, are retained
under the Plan for prosecution by the Reorganized Debtor unless a specific order of the Bankruptcy
Court authorizes the Debtor to release such claims. As such, Creditors are cautioned not to rely on
(i) the absence of the listing of any legal right, claim or right of action against a particular Creditor
in the Disclosure Statement, the Plan, or the Schedules, or (ii) the absence of litigation or demand
prior to the Effective Date of the Plan as any indication that the Debtor does not possess or does
not intend to prosecute a particular claim or Cause of Action if a particular Creditor votes to accept
the Plan. It is the expressed intention of the Plan to preserve rights, objections to Claims, and rights
of action of the Debtor, whether now known or unknown, for the benefit of the Debtor’s Estate. A
Cause of Action shall not, under any circumstances, be waived as a result of the failure of the Debtor
to describe such Cause of Action with specificity in the Plan or the Disclosure Statement; nor shall
the Debtor, as a result of such failure, be estopped or precluded under any theory from pursuing such
Cause of Action. Nothing in the Plan operates as a release of any of the Causes of Action, except as
expressly provided otherwise.

                3.       The Debtor does not presently know the full extent of the Causes of Action,
and for purposes of voting on the Plan, all Creditors are advised that the Debtor and accordingly
the Reorganized Debtor will have substantially the same rights that a Chapter 7 trustee would have
with respect to the Causes of Action. Accordingly, neither a vote to accept the Plan by any Creditor
nor the entry of the Confirmation Order will act as a release, waiver, bar or estoppel of any Cause
of Action against such Creditor or any other Person or Entity, unless such Creditor, Person or
Entity is specifically identified by name as a released party in the Plan, in the Confirmation Order,
or in any other Final Order of the Bankruptcy Court. Confirmation of the Plan and entry of the
Confirmation Order is not intended to and shall not be deemed to have any res judicata or collateral
estoppel or other preclusive effect that would precede, preclude, or inhibit prosecution of such
Causes of Action following Confirmation of the Plan.

                4.      Except as provided in the Settlement Agreement between the Debtor and
RS Lending, the Reorganized Debtor reserves the right to pursue any or none of the Causes of
Action in its sole discretion.

       B.      Exclusivity Period. The Debtor retains the exclusive right to amend or modify
the Plan, and to solicit acceptances of any amendments to or modifications of the Plan, through
and until the Effective Date.




                                                   19
          Case 6:17-bk-07077-KSJ          Doc 206      Filed 08/23/18      Page 20 of 45




                                      ARTICLE IX
                               RETENTION OF JURISDICTION

        A.      General Retention. Notwithstanding the entry of the Confirmation Order and the
occurrence of the Effective Date, until the Liquidation Case is closed, the Bankruptcy Court shall
retain the fullest and most extensive jurisdiction of the Liquidation Case that is permitted by
applicable law, including that necessary to ensure that the purposes and intent of the Plan are
carried out.

        B.      Specific Purposes. After Confirmation of the Plan and until the Liquidation Case
is closed, the Bankruptcy Court shall retain jurisdiction of the Liquidation Case for the following
specific purposes:

                1.     to allow, disallow, determine, liquidate, classify, estimate or establish the
priority or secured or unsecured status of any Claim, including the resolution of any application
for an Administrative Expense Claim, and to determine any and all objections to the allowance or
priority of Claims;

                 2.     to determine any and all cases, controversies, suits or disputes arising under
or relating to the Liquidation Case, the Plan or the Confirmation Order;

               3.      to determine any and all applications for allowance of compensation of
Professionals and reimbursement of expenses under Sections 330, 331 or 503(b) of the Bankruptcy
Code arising out of or relating to the Liquidation Case;

               4.      to enforce, interpret and administer the terms and provisions of the Plan;

              5.      to modify any provisions of the Plan to the fullest extent permitted by the
Bankruptcy Code and the Bankruptcy Rules;

               6.      to consider and act on the compromise and settlement of any Claim against
the Debtor or the Estate;

               7.      to assure the performance by the Debtor or the Reorganized Debtor of their
obligations under the Plan, including disposition of proceeds of the sale of the Auction Properties
and the Remaining Properties as contemplated by the Sale Procedures Order and this Plan;

                8.      to correct any defect, cure any omission, reconcile any inconsistency or make
any other necessary changes or modifications in or to the Disclosure Statement, the Plan, the
Confirmation Order, or any exhibits or schedules to the foregoing, as may be necessary or
appropriate to carry out the purposes and intent of the Plan, including the adjustment of the date(s)
of performance under the Plan in the event the Effective Date does not occur as provided herein
so that the intended effect of the Plan may be substantially realized thereby;

              9.      to enforce all orders, judgments, injunctions and rulings entered in
connection with the Liquidation Case;

                                                 20
          Case 6:17-bk-07077-KSJ           Doc 206      Filed 08/23/18     Page 21 of 45




                10.    to review and approve any sale or transfer of assets or Property by the
Debtor or the Reorganized Debtor as applicable, including prior to or after the date of the Plan and
including all sales contemplated by the Sale Procedures Order and this Plan, and to determine all
questions and disputes regarding such sales or transfers;

                11. to determine all questions and disputes regarding title to the assets of the
Debtor or its Estate;

              12.    to issue injunctions, enter and implement other orders or take such other
actions as may be necessary or appropriate to restrain interference by any Person or Entity with
consummation, implementation or enforcement of the Plan or the Confirmation Order;

                13.    to determine any other matters that may arise in connection with or relating
to the Plan, the Disclosure Statement, or the Confirmation Order;

               14.     to enforce the obligations of any purchaser of any assets of the Debtor; and

               15.     to enter an order concluding and terminating the Liquidation Case.

        C.      Closing of the Liquidation Case. The Bankruptcy Court shall retain jurisdiction
of the Liquidation Case to enter an order reopening the Liquidation Case after it has been closed.

                                      ARTICLE X
                               MISCELLANEOUS PROVISIONS

        A.      Further Assurances. The Debtor and/or the Reorganized Debtor as applicable
agrees, and is hereby authorized, to execute and deliver any and all papers, documents, contracts,
agreements and instruments that may be necessary to carry out and implement the terms and
conditions of the Plan.

       B.       Notices. All notices, requests or other documents in connection with, or required to
be served by, the Plan shall be in writing and shall be sent by first class United States mail, postage
prepaid, or by overnight delivery by a recognized courier service, to the Debtor or the Reorganized
Debtor, INGERSOLL FINANCIAL, LLC, Attn. Keith Ingersoll, Managing Member, 2 South
Orange Avenue, Suite 202, Orlando, FL 32801, with a copy to Frank M. Wolff, Esquire, Frank
Martin Wolff, P.A., 19 E. Central Blvd., Orlando, FL 32801.

        C.      Governing Law. Except to the extent that federal law (including the Bankruptcy
Code or the Bankruptcy Rules) is applicable, or where the Plan or the provision of any contract,
instrument, release, indenture or other agreement or document entered into in connection with the
Plan provides otherwise, the rights and obligations arising under the Plan shall be governed by, and
construed and enforced in accordance with, the laws of the State of Florida, without giving effect
to the principles of conflicts of law thereof.




                                                  21
          Case 6:17-bk-07077-KSJ          Doc 206     Filed 08/23/18     Page 22 of 45




        D.      Limitation on Allowance. No attorneys’ fees, punitive damages, penalties,
exemplary damages, or interest shall be paid with respect to any Claim except as otherwise specified
in the Plan or as Allowed by a Final Order of the Bankruptcy Court.

        E.      Confirmation Order and Plan Control. To the extent the Confirmation Order or
the Plan is inconsistent with the Disclosure Statement or any agreement entered into between the
Debtor and any third party, unless otherwise expressly provided in the Plan or the Confirmation
Order, the Confirmation Order and the Plan shall control over the Disclosure Statement and any
such agreement. Except as otherwise set forth in this Plan, the Confirmation Order (and any other
Final Orders of the Bankruptcy Court) shall be construed together and consistent with the terms of
the Plan; provided, however, to the extent the Confirmation Order is inconsistent with the Plan,
the Confirmation Order shall control over the Plan.

        F.      Computation of Time. In computing any period of time prescribed or allowed by
the Plan, the provisions of Bankruptcy Rule 9006(a) shall apply.

        G.      No Liability for Solicitation. Pursuant to Section 1125(e) of the Bankruptcy Code,
any Person that solicits acceptances or rejections of the Plan, in good faith and in compliance with
the applicable provisions of the Bankruptcy Code, shall not be liable, on account of such
solicitation, for violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of the Plan.


                                              INGERSOLL FINANCIAL, LLC




Dated: 08/23/18                               By: /s/ Keith Ingersoll
                                                  Keith Ingersoll, Managing Member




                                                     /s/ Frank M. Wolff
                                                     Frank M. Wolff
                                                     Frank Martin Wolff, P.A.
                                                     19 E. Central Blvd.
                                                     Orlando, FL 32801
                                                     Telephone: (407) 982-4448
                                                     Facsimile: (407) 386-3364
                                                     Email: fwolff@fwolfflaw.com

                                                     Counsel for Debtor and
                                                     Debtor-in-Possession


                                                22
Case 6:17-bk-07077-KSJ   Doc 206   Filed 08/23/18   Page 23 of 45




                         EXHIBIT A


                   AUCTION PROPERTIES
                        Case 6:17-bk-07077-KSJ                    Doc 206         Filed 08/23/18          Page 24 of 45
                                                                     Exhibit A



Class #    Sub Class                            Property Name                    State                 Lien Nature

      12               1312 Princeton Ave SW, Birmingham, AL 35201                AL
              a               Unknown party in possession
              b               JEFFERSON COUNTY-BIRMINGHAM                                PROPERTY TAXES
               f              Secured Claim of RS Lending

      13               136 Lee Road 0270, Phenix City, AL 36870                   AL
              a               Unknown party in possession
              b               Lee County Revenue Commissioner                            PROPERTY TAXES
               f              Secured Claim of RS Lending

      14               1603 14th Ave. Phenix City, AL 36867                      AL
              a               Unknown party in possession
              b               Russell Co Revenue Commissioner                            PROPERTY TAXES
               f              Secured Claim of RS Lending

      15               1656 50TH ST E, BIRMINGHAM AL 35208                        AL
              a               Unknown party in possession
              b               Jefferson Co Tax Collector                                 PROPERTY TAXES
              e               HARGROVE BRANDFORD HR
               f              Secured Claim of RS Lending

      16               1709 MAGLEE AVE, WHISTLER AL 36612                         AL
              a               Unknown party in possession
              b               MOBILE CO COMMISSIONER                                     PROPERTY TAXES
              e               KIM HASTIE                                                 LIEN
               f              Secured Claim of RS Lending

      17               17415 HWY 55, STERRETT AL 35147                            AL
              a               Unknown party in possession
              b               SHELBY CO TAX COLLECTOR                                    PROPERTY TAXES
               f              Secured Claim of RS Lending

      18               208 GARDENDALE DR, MONTGOMERY AL 36110                     AL
              a               Unknown party in possession
              b               MONTGOMERY CO COMMISSIONER                                 PROPERTY TAXES
              c               MONTGOMERY CO COMMISSIONER                                 NUISANCE VIOLATIONS
              c               STATE OF ALABAMA                                           WEED LIEN
               f              Secured Claim of RS Lending

      19               2443 COUNTY ROAD 37, BILLINGSLEY AL 36006                  AL
              a               Unknown party in possession
              b               AUTAUGA CO TAX COLLECTOR                                   PROPERTY TAXES
              e               TL INVESTMENTS                                             LIEN
               f              Secured Claim of RS Lending

      20               256 WOOLEY RD, HANCEVILLE AL 35077                         AL
              a               Unknown party in possession
              b               CULLMAN CO COMMISSIONER                                    PROPERTY TAXES
               f              Secured Claim of RS Lending

      21               2801 COUNTRY CT, MONTGOMERY AL 36116                       AL
              a               Unknown party in possession
              b               MONTGOMERY CO COMMISSIONER                                 PROPERTY TAXES
               f              Secured Claim of RS Lending

      22               295 3RD ST SW, ASHLAND, AL 36251                           AL
              a               Unknown party in possession
              b               Clay Co Revenue Commissioner                               PROPERTY TAXES
               f              Secured Claim of RS Lending

      23               3257 DOGWOOD RD, MOBILE AL 36602                           AL
              a               Unknown party in possession
              b               MOBILE CO COMMISSIONER                                     PROPERTY TAXES
          Case 6:17-bk-07077-KSJ                     Doc 206   Filed 08/23/18        Page 25 of 45


     f         Secured Claim of RS Lending

24       3700 RACEWAY PKWY, MOUNT OLIVE AL 35117               AL
     a         Unknown party in possession
     b         JEFFERSON CO TAX COLLECTOR                           PROPERTY TAXES
     f         Secured Claim of RS Lending

25       4309 9TH AVE, BIRMINGHAM AL 35224                     AL
     a         Unknown party in possession
     b         Jefferson Co-Bessemer Asst Tax Collector             PROPERTY TAXES
     e         MEDICAL WEST                                         HOSPITAL CARE
     f         Secured Claim of RS Lending

26       5409 COURT H, BIRMINGHAM AL 35201                     AL
     a         Unknown party in possession
     b         JEFFERSON CO TAX COLLECTOR                           PROPERTY TAXES
     f         Secured Claim of RS Lending

27       7016 2ND AVE S, BIRMINGHAM AL 35201                   AL
     a         Unknown party in possession
     b         JEFFERSON CO TAX COLLECTOR                           PROPERTY TAXES
     d         Jefferson Co Commissioner                            UTILITY LIEN
     f         Secured Claim of RS Lending

28       7804 8TH AVE S, BIRMINGHAM AL 35201                   AL
     a         Unknown party in possession
     b         JEFFERSON CO TAX COLLECTOR                           PROPERTY TAXES
     d         Jefferson Co Commissioner                            UTILITY LIEN
     f         Secured Claim of RS Lending

29       828 OVERTON AVE, TARRANT AL 35217                     AL
     a         Unknown party in possession
     b         JEFFERSON CO TAX COLLECTOR                           PROPERTY TAXES
     c         JEFFERSON CO SEWER BILLING                           WEED LIEN
     f         Secured Claim of RS Lending

30       907 N 13TH ST, LANETT AL 36863                        AL
     a         Unknown party in possession
     b         Chambers Co Revenue Commissioner                     PROPERTY TAXES
     e         ROBERTINE BARNES                                     LIEN
     f         Secured Claim of RS Lending

31       111 POSTON ROAD, JACKSONVILLE AR 72076                AR
     a         Unknown party in possession
     b         COMMISSIONER OF STATE LANDS                          PROPERTY TAXES
     f         Secured Claim of RS Lending

32       1509 W 23RD AVE, PINE BLUFF AR 71601                  AR
     a         Unknown party in possession
     b         JEFFERSON CO                                         PROPERTY TAXES
     c         CITY OF PINE BLUFF                                   GRASS & WEED VIOLATION
     f         Secured Claim of RS Lending

33       2005 ABIGAIL ST, LITTLE ROCK AR 72204                 AR
     a         Unknown party in possession
     b         PULASKI CO TREASURER                                 PROPERTY TAXES
     b         COMMISSIONER OF STATE LANDS                     AR   PROPERTY TAXES
     f         Secured Claim of RS Lending

34       2625 CLAUD RD, WHITE HALL AR 71602                    AR
     a         Unknown party in possession
     b         STEPHANIE STANTON, TAX COLLECTOR                     PROPERTY TAXES
     f         Secured Claim of RS Lending

35       3124 ELAM ST, LITTLE ROCK AR 72204                    AR
     a         Unknown party in possession




                                                          2
          Case 6:17-bk-07077-KSJ                   Doc 206   Filed 08/23/18              Page 26 of 45


     b          PULASKI CO TREASURER                              PROPERTY TAXES
     f          Secured Claim of RS Lending

36       4011 W 11TH AVE, PINE BLUFF AR 71601                AR
     a          Unknown party in possession
     b          JEFFERSON COUNTY TAX COLLECTOR                    PROPERTY TAXES
     f          Secured Claim of RS Lending

37       55 VALLEY HEART DR, HIGHLAND AR 72542               AR
     a          Unknown party in possession
     b          SHARP CO COLLECTOR                                PROPERTY TAXES
     f          Secured Claim of RS Lending

38       557 SUNSHINE ST, WALDRON AR 72958                   AR
     a          Unknown party in possession
     b          SCOTT CO TAX COLLECTOR                            PROPERTY TAXES
     f          Secured Claim of RS Lending

39       900 WEBSTER ST, BLYTHEVILLE AR 72315                AR
     a          Unknown party in possession
     b          COMMISSIONER OF STATE LANDS                       PROPERTY TAXES
     b          CHICKASAWBA TAX COLLECTOR                         PROPERTY TAXES
     c          CITY OF BLYTHEVILLE                               OPEN CODE VIOLATIONS
     f          Secured Claim of RS Lending

40       19940 SW 109th Pl, Dunnelleon, FL 34432             FL
     a          Unknown party in possession
     b          Marion Co Tax Collector                           PROPERTY TAXES
     c          Marion County Code Enforcement                    CODE ENFORCEMENT
     f          Secured Claim of RS Lending

41       2443 ELM DR, COLUMBUS GA 31901                      GA
     a          Unknown party in possession
     b          MUSCOGEE CO TAX COMMISSION                        PROPERTY TAXES
     e          COLUMBUS ALUMINUM INC                             Total of Principal, Interest & Court Costs
     f          Secured Claim of RS Lending

42       255 Friendship Cir, Fort Valley, GA                 GA
     a          Unknown party in possession
     b          Peach Co Tax Commissioner                         PROPERTY TAXES
     f          Secured Claim of RS Lending

43       358 7TH AVE NE, DAWSON GA 39842                     GA
     a          Unknown party in possession
     b          DAWSON CITY TAX COLLECTOR                         PROPERTY TAXES
     b          TERRELL CO TAX COLLECTOR                          PROPERTY TAXES
     f          Secured Claim of RS Lending

44       427 W MONROE ST, THOMASVILLE GA 31792               GA
     a          Unknown party in possession
     b          CITY OF THOMASVILLE                               PROPERTY TAXES
     b          THOMAS CO TAX COMMISSIONER                        PROPERTY TAXES
     f          Secured Claim of RS Lending

45       485 CARLYENE DR, MIDWAY GA 31320                    GA
     a          Unknown party in possession
     b          LIBERTY CO TAX COLLECTOR                          PROPERTY TAXES
     f          Secured Claim of RS Lending

46       217 S 1ST ST, LAURENS IA 50554                      IA
     a          Unknown party in possession
     b          POCAHONTAS CO TREASURER                           PROPERTY TAXES
     f          Secured Claim of RS Lending

47       625 3RD AVE , S, CLINTON IA 52732                   IA
     a          Unknown party in possession




                                                      3
          Case 6:17-bk-07077-KSJ                   Doc 206   Filed 08/23/18          Page 27 of 45


     b           CLINTON CO TAX COLLECTOR                         PROPERTY TAXES
     c           CITY OF CLINTON                                  OPEN CODE VIOLATIONS
     f           Secured Claim of RS Lending

48       918 W 14TH ST, DAVENPORT IA 52801                   IA
     a           Unknown party in possession
     b           SCOTT CO TREASURER                               PROPERTY TAXES
     c           DAVENPORT PUBLIC WORKS                           WEED LIEN
     f           Secured Claim of RS Lending

49       1217 EAST 5TH ST, ALTON IL 62002                    IL
     a           Unknown party in possession
     b           MADISON COUNTY TREASURER                         PROPERTY TAXES
     c            COMPTROLLER                                     CODE VIOLATION - WEEDS
     c           STATE OF ILLINOIS                                WEED LIENS
     e           INTERNAL REVENUE SERVICE                         FEDERAL TAX LIEN
     f           Secured Claim of RS Lending

50       1508 PARK LN, FORD HEIGHTS IL 60411                 IL
     a           Unknown party in possession
     b           TREASURER OF COOK CO                             PROPERTY TAXES
     d           Ford Heights Water Utility                       UTILITY LIEN
     e           INTERNAL REVENUE SERVICE                         FEDERAL TAX LIEN
     f           Secured Claim of RS Lending

51       1511 7TH ST W, ROCK ISLAND IL 61291                 IL
     a           Unknown party in possession
     b           ROCK ISLAND CO TREASURER                         PROPERTY TAXES
     c           AMANDA RODELL                                    WEED VIOLATION
     c           CITY OF ROCK ISLAND                              Municipal lien
     d           CITY OF ROCK ISLAND                              UTILITY LIEN
     f           Secured Claim of RS Lending

52       1638 N 48TH ST, EAST ST. LOUIS IL 62201             IL
     a           Unknown party in possession
     b           ST CLAIR CO TREASURER                            PROPERTY TAXES
     e           HEAVNER SCOTT BEYERS & MIHLAR LLC                NOTE AND MORTGAGE
     e           PIERCE & ASSOCIATES                              SUBSISTING LIEN
     f           Secured Claim of RS Lending

53       23 S 16th St, Belleville, IL 62220                  IL
     a           Unknown party in possession
     b           ST CLAIR CO TREASURER                            PROPERTY TAXES
     c           STATE OF ILLINOIS                                WEED LIEN
     c           CITY OF BELLEVILLE                               HEALTH & HOUSING CODE VIOLATION
     d           CITY OF BELLEVILLE                               UTILITY LIEN
     f           Secured Claim of RS Lending

54       254 E 136TH ST, CHICAGO IL 60601                    IL
     a           Unknown party in possession
     b           TREASURER OF COOK CO                             PROPERTY TAXES
     c           CITY OF CHICAGO- DEPT LAW
     d           CITY OF CHICAGO                                  UTILITY LIEN
     e           ROBERTS & WEDDLE LLC                             ORDER
     e           GOLDMAN & GRANT                                  ORDER
     f           Secured Claim of RS Lending

55       305 MEREDOCIA ST, MADISON IL 62060                  IL
     a           Unknown party in possession
     b           MADISON CO TREASURER                             PROPERTY TAXES
     d           Metro East Sanitary District                     UTILITY LIEN
     f           Secured Claim of RS Lending

56       316 N HORN ST, WEST FRANKFORT IL 62896              IL
     a           Unknown party in possession
     b           ROCK ISLAND CO TREASURER                         PROPERTY TAXES




                                                      4
          Case 6:17-bk-07077-KSJ                   Doc 206   Filed 08/23/18        Page 28 of 45


     f         Secured Claim of RS Lending

57       354 E FULTON, PAXTON IL 60957                       IL
     a         Unknown party in possession
     b         FORD COUNTY TREASURER                              PROPERTY TAXES
     c         CITY OF PAXTON
     d         Paxton Water Dept                                  UTILITY LIEN
     f         Secured Claim of RS Lending

58       3919 W GRENSHAW ST, CHICAGO IL 60601                IL
     a         Unknown party in possession
     b         TREASURER OF COOK CO                               PROPERTY TAXES
     c         CITY OF CHICAGO
     e         CITY OF CHICAGO DEPT OF LAW                        LIEN FOR DEMOLITION
     f         Secured Claim of RS Lending

59       5949 S UNION AVE, CHICAGO IL 60601                  IL
     a         Unknown party in possession
     b         TREASURER OF COOK CO                               PROPERTY TAXES
     d         CITY OF CHICAGO                                    UTILITY LIEN
     e         CITY OF CHICAGO                                    JUDGMENTS, JUDGMENT LIENS
     e         ROBERTS & WEDDLE LLC                               ORDERS
     f         Secured Claim of RS Lending

60       605 W 9TH ST, JOHNSTON CITY IL 62951                IL
     a         Unknown party in possession
     b         WILLIAMSON CO TREASURER                            PROPERTY TAXES
     e         CITY OF JOHNSTON CITY                              NOTICE OF LIEN
     f         Secured Claim of RS Lending

61       617 ABEND ST, BELLEVILLE IL 62220                   IL
     a         Unknown party in possession
     b         ST. CLAIR CO COLLECTOR                             PROPERTY TAXES
     d         City of Belleview Treasurer                        UTILITY LIEN
     f         Secured Claim of RS Lending

62       6525 S MARSHFIELD AVE, CHICAGO IL 60636             IL
     a         Unknown party in possession
     b         TREASURER OF COOK CO                               PROPERTY TAXES
     e         GOLDMAN & GRANT                                    JUDGEMENT
     e         TONEY GREEN CONSTRUCTION                           MECHANICS LIEN
     e         ROBERTS & WEDDLE LLC                               ORDER
     f         Secured Claim of RS Lending

63       6948 S CARPENTER ST, CHICAGO IL 60601               IL
     a         Unknown party in possession
     b         TREASURER OF COOK CO                               PROPERTY TAXES
     d         City of Chicago                                    UTILITY LIEN
     f         Secured Claim of RS Lending

64       713 S WALNUT ST, SESSER IL 62884                    IL
     a         Unknown party in possession
     b         FRANKLIN CO TREASURER                              PROPERTY TAXES
     c         CITY OF SESSER                                     OPEN CODE VIOLATIONS.
     d         Sesser Water Dept                                  UTILITY LIEN
     f         Secured Claim of RS Lending

65       8345 S BALTIMORE AVE, CHICAGO IL 60601              IL
     a         Unknown party in possession
     b         TREASURER OF COOK CO                               PROPERTY TAXES
     c         GOLDMAN & GRANT                                    WEED LIEN
     f         Secured Claim of RS Lending

66       919 GLENVIEW DR, TUSCOLA, IL 61953                  IL
     a         Unknown party in possession
     b         Douglas Co Treasurer                               PROPERTY TAXES




                                                      5
          Case 6:17-bk-07077-KSJ                      Doc 206   Filed 08/23/18        Page 29 of 45


     f         Secured Claim of RS Lending

67       1108 BANCROFT AVE, ROCHESTER IN 46975                  IN
     a         Unknown party in possession
     b         FULTON COUNTY TREASURER                               PROPERTY TAXES
     f         Secured Claim of RS Lending

68       1326 N EWING STREET, INDIANAPOLIS IN 46218             IN
     a         Unknown party in possession
     b         MARION CO TREASURERS OFFICE                           PROPERTY TAX LIEN
     c         MARION CO TREASURER                                   CODE VIOLATION
     c         DEPT OF CODE ENFORCEMENT                              CODE VIOLATION
     e         MARION CO PUBLIC HEALTH                               BILLING LETTER
     e         ACME FLOOR COVERING INC.
     f         Secured Claim of RS Lending

69       13424 HARBER, YODER IN 46798                           IN
     a         Unknown party in possession
     b         ALLEN CO TREASURER                                    PROPERTY TAXES
     f         Secured Claim of RS Lending

70       1619 W 6TH ST, ANDERSON IN 46011                       IN
     a         Unknown party in possession
     b         MADISON CO TREASURER                                  PROPERTY TAXES
     d         Anderson City Utilties                                UTILITY LIEN
     f         Secured Claim of RS Lending

71       1912 MARYLAND ST, GARY IN 46407                        IN
     a         Unknown party in possession
     b         LAKE COUNTY TREASURER                                 PROPERTY TAXES
     d         Gary Sanitary District                                UTILITY LIEN
     f         Secured Claim of RS Lending

72       2652 BUCHANAN ST, GARY IN 46402                        IN
     a         Unknown party in possession
     b         LAKE COUNTY TREASURER                                 PROPERTY TAXES
     d         Gary Indiana Law Dept                                 UTILITY LIEN
     f         Secured Claim of RS Lending

73       2749 JACKSON ST, GARY IN 46402                         IN
     a         Unknown party in possession
     b         LAKE COUNTY TREASURER                                 PROPERTY TAXES
     d         Gary Sanitary District                                UTILITY LIEN
     f         Secured Claim of RS Lending

74       2810 E 34TH ST, INDIANAPOLIS IN 46218                  IN
     a         Unknown party in possession
     b         MARION COUNTY TREASURER                               PROPERTY TAXES
     c         MARION COUNTY TREASURER                               WEEDS LIEN
     c         STATE OF INDIANA                                      WEED LIENS
     f         Secured Claim of RS Lending

75       33 N HILLSIDE DR, MANCHESTER IN 46962                  IN
     a         Unknown party in possession
     b         WABASH COUNTY TREASURER                               PROPERTY TAXES
     d         Laketon Area Regional Sewer District                  SEWER CHARGES
     d         WABASH CO WASTEWATER                                  UTILITY LIEN
     f         Secured Claim of RS Lending

76       3423 N SHERMAN DR, INDIANAPOLIS IN 46218               IN
     a         Unknown party in possession
     b         MARION COUNTY TREASURER                               PROPERTY TAXES
     c         CITY OF INDIANAPOLIS                             IN   FAILURE TO REPAIR PENALTY NOTICE
     c         MARION COUNTY TREASURER                          IN   OPEN CODE VIOLATIONS
     f         Secured Claim of RS Lending




                                                         6
          Case 6:17-bk-07077-KSJ                   Doc 206   Filed 08/23/18         Page 30 of 45


77       3801 PENNSYLVANIA ST, GARY IN 46402                 IN
     a         Unknown party in possession
     b         LAKE COUNTY TREASURER                              PROPERTY TAXES
     b         Lake County Auditor                                PROPERTY TAXES
     b         Mountain View LLC                                  TAX CERTIFICATE
     d         Gary Sanitary District                             UTILITY LIEN
     f         Secured Claim of RS Lending

78       3861 POLK ST, GARY IN 46402                         IN
     a         Unknown party in possession
     b         LAKE COUNTY TREASURER                              PROPERTY TAXES
     d         Gary Sanitary District                             UTILITY LIEN
     f         Secured Claim of RS Lending

79       41 HELTONVILLE LN, HELTONVILLE IN 47436             IN
     a         Unknown party in possession
     b         LAWRENCE CO TREASURER                              PROPERTY TAXES
     f         Secured Claim of RS Lending

80       412 TYLER ST, GARY IN 46402                         IN
     a         Unknown party in possession
     b         LAKE COUNTY TREASURER                              PROPERTY TAXES
     c         GARY IN LAW DEPT                                   CODE VIOLATIONS
     d         Gary Sanitary District                             UTILITY LIEN
     e         INTERNAL REVENUE SERVICE                           TAX PERIOD ENDING 12/31/2006
     f         Secured Claim of RS Lending

81       4120 ADAMS ST, GARY IN 46402                        IN
     a         Unknown party in possession
     b         LAKE COUNTY TREASURER                              PROPERTY TAXES
     d         Gary Sanitary District                             UTILITY LIEN
     f         Secured Claim of RS Lending

82       413 N 921 W, FOWLER IN 47944                        IN
     a         Unknown party in possession
     b         BENTON CO TREASURER                                PROPERTY TAXES
     f         Secured Claim of RS Lending

83       415 W FRANKLIN ST, HARTFORD CITY IN 47348           IN
     a         Unknown party in possession
     b         BLACKFORD CO TREASURER                             PROPERTY TAXES
     c         HARTFORD CITY CLERK                                CODE VIOLATION
     d         Hartford City IN Police Dept                       UTILITY LIEN
     f         Secured Claim of RS Lending

84       4456 PENNSYLVANIA ST, GARY IN 46402                 IN
     a         Unknown party in possession
     b         LAKE COUNTY TREASURER                              PROPERTY TAXES
     c         GARY IN LAW DEPT                                   CODE VIOLATION - WEEDS
     f         Secured Claim of RS Lending


85       455 W HENDRICKS ST, SHELBYVILLE IN 46176            IN
     a         Unknown party in possession
     b         Shelby Co Treasurer                                PROPERTY TAXES
     c         CITY OF SHELBYVILLE                                CODE VIOLATIONS
     d         SHELBYVILLE PUBLIC UTILITIES                       SEWER LIEN
     d         SHELBYVILLE UTILITIES                              UTILITY LIEN
     f         Secured Claim of RS Lending

86       4608 MILLER LN, GARY IN 46403                       IN
     a         Unknown party in possession
     b         LAKE COUNTY TREASURER                              PROPERTY TAXES
     d         Gary Sanitary District                             UTILITY LIEN
     e         GARY IN LAW DEPT
     f         Secured Claim of RS Lending




                                                      7
          Case 6:17-bk-07077-KSJ                  Doc 206   Filed 08/23/18         Page 31 of 45


87       4630 E 10TH AVE, GARY IN 46402                     IN
     a          Unknown party in possession
     b          LAKE COUNTY TREASURER                            PROPERTY TAXES
     f          Secured Claim of RS Lending

88       4640 DELAWARE ST, GARY IN 46409                    IN
     a          Unknown party in possession
     b          LAKE COUNTY TREASURER                            2015 THRU 2017 TAXES
     e          GARY IN LAW DEPT
     f          Secured Claim of RS Lending

89       602 MISSISSIPPI ST, GARY IN 46402                  IN
     a          Unknown party in possession
     b          LAKE COUNTY TREASURER                            PROPERTY TAXES
     d          Gary Sanitary District                           UTILITY LIEN
     f          Secured Claim of RS Lending

90       606 DUNDEE ST, SOUTH BEND IN 46601                 IN
     a          Unknown party in possession
     b          ST. JOSEPH CO TREASURER                          PROPERTY TAXES
     c          DEPT OF CODE ENFORCEMENT                         CODE VIOLATIONS
     d          CITY OF SOUTH BEND                               UTILITY LIEN
     f          Secured Claim of RS Lending

91       606 W MAIN ST, CHESTERFIELD IN 46017               IN
     a          Unknown party in possession
     b          MADISON CO TREASURER                             PROPERTY TAXES
     c          TOWN OF CHESTERFIELD                             CODE VIOLATION
     d          TOWN OF CHESTERFIELD                             UTILITY LIEN
     f          Secured Claim of RS Lending

92       708 VERMONT ST, GARY IN 46402                      IN
     a          Unknown party in possession
     b          LAKE COUNTY TREASURER                            PROPERTY TAXES
     d          Gary Sanitary District                           UTILITY LIEN
     f          Secured Claim of RS Lending

93       758 N Spring St, Wabash, IN 46992                  IN
     a          Unknown party in possession
     b          WABASH COUNTY TREASURER                          PROPERTY TAXES
     c          CITY OF WABASH
     d          CITY OF WABASH                                   UTILITY LIEN
     d          WABASH CO WASTEWATER                             UTILITY LIEN
     f          Secured Claim of RS Lending

94       830 E 26TH STREET, MARION IN 46952                 IN
     a          Unknown party in possession
     b          GRANT CO TREASURER                               PROPERTY TAXES
     c          MARION UTILITIES                                 OPEN CODE VIOLATIONS
     c          MARION CODE ENFORCEMENT                          WEED LIENS
     d          MARION UTILITIES                                 UTILITY LIEN
     f          Secured Claim of RS Lending

95       842 S BENDIX DR, SOUTH BEND IN 46601               IN
     a          Unknown party in possession
     b          ST. JOSEPH CO TREASURER                          PROPERTY TAXES
     c          CITY OF SOUTH BEND                               NOTICE OF CODE VIOLATION
     d          CITY OF SOUTH BEND                               UTILITY LIEN
     e          CITY OF SOUTH BEND                               JUDGMENT
     e          ST. JOSEPH BOARD OF COMMISSIONERS                JUDGMENT
     f          Secured Claim of RS Lending

96       937 N OXFORD ST, INDIANAPOLIS IN 46201             IN
     a          Unknown party in possession
     b          MARION COUNTY TREASURER                          PROPERTY TAXES
     b          CITY OF INDIANAPOLIS                             PROPERTY TAXES




                                                     8
           Case 6:17-bk-07077-KSJ                     Doc 206   Filed 08/23/18        Page 32 of 45


      c          INDIANAPOLIS NEIGHBORHOOD SERVICES                  CODE VIOLATION
      c          DEPT OF CODE ENFORCEMENT                            CODE VIOLATION
      e          MARION CO PUBLIC HEALTH                             BILLING LETTER
      f          Secured Claim of RS Lending

97        964 HOBART ST, GARY IN 46406                          IN
      a          Unknown party in possession
      b          LAKE COUNTY TREASURER                               PROPERTY TAXES
      d          Gary Sanitary District                              UTILITY LIEN
      f          Secured Claim of RS Lending

98        1168 HARLESS CREEK, REGINA KY 41559                   KY
      a          Unknown party in possession
      b          PIKE CLERKS OFFICE                                  PROPERTY TAXES
      e          MORGAN & POTTINGER PSC                              JUDGMENT LIEN
      f          Secured Claim of RS Lending

99        323 N 20TH ST, LOUISVILLE KY 40203                    KY
      a          Unknown party in possession
      b          JEFFERSON CO SHERIFF'S OFFICE                       PROPERTY TAXES
      c          CITY OF LOUISVILLE
      c          LOUISVILLE-JEFFERSON CO METRO
      f          Secured Claim of RS Lending

100       126 BILLEDEAU DR, PINEVILLE LA 71359                  LA
      a          Unknown party in possession
      b          RAPIDES TAX COLLECTOR                               PROPERTY TAXES
      f          Secured Claim of RS Lending

101       12670 Carroll Dr, Pineville, LA 70422                 LA
      a          Unknown party in possession
      b          Tangipahoa Parish Sheriff Tax Coll                  PROPERTY TAXES
      f          Secured Claim of RS Lending

102       57758 Grove Rd., Plaquemine, LA 70764                 LA
      a          Unknown party in possession
      b          Iberville Parish Tax Collector                      PROPERTY TAXES
      f          Secured Claim of RS Lending

103       72381 DAHLIA ST, COVINGTON LA 70433                   LA
      a          Unknown party in possession
      b          SAINT TAMMANY PARISH                                PROPERTY TAXES
      f          Secured Claim of RS Lending

104       113 FRANKLIN ST, HANCOCK MD 21750                     MD
      a          Unknown party in possession
      b          TOWN OF HANCOCK                                     PROPERTY TAXES
      b          WASHINGTON CO TREASURER                             PROPERTY TAXES
      d          HANCOCK SEWER & WATER                               UTILITY LIEN
      e          EQUITY TRUST CO                                     CLEARANCE LIEN
      e          WASHINGTON COUNTY                                   JURISDICTION PAYABLE
      f          Secured Claim of RS Lending

105       236 COLUMBIA ST, CUMBERLAND MD 21502                  MD
      a          Unknown party in possession
      b          ALLEGANY CO TAX COLLECTOR
      b          CUMBERLAND CITY                                     PROPERTY TAXES
      e          KAJA HOLDINGS 2 LLC
      f          Secured Claim of RS Lending

106       2418 E OLIVER ST, BALTIMORE MD 21213                  MD
      a          Unknown party in possession
      b          BALTIMORE CITY DIRECTOR OF FINANCE                  PROPERTY TAXES
      d          BALTIMORE CITY DEPT PUBLIC WORKS                    UTILITY LIEN
      e          KAJA HOLDINGS 2 LLC
      f          Secured Claim of RS Lending




                                                         9
           Case 6:17-bk-07077-KSJ                 Doc 206   Filed 08/23/18         Page 33 of 45



107       2916 W LAFAYETTE AVE, BALTIMORE MD 21213          MD
      a         Unknown party in possession
      b         BALTIMORE CITY DIRECTOR OF FINANCE               PROPERTY TAXES
      d         BALTIMORE CITY DEPT PUBLIC WORKS                 UTILITY LIEN
      f         Secured Claim of RS Lending

108       300 S AUGUSTA AVE, BALTIMORE MD 21229             MD
      a         Unknown party in possession
      b         BALTIMORE CITY DIRECTOR OF FINANCE               PROPERTY TAXES
      d         BALTIMORE CITY                                   UTILITY LIEN
      f         Secured Claim of RS Lending

109       536 ELK MILLS RD, ELK MILLS MD 21920              MD
      a         Unknown party in possession
      b         CECIL CO TREASURER                               PROPERTY TAXES
      f         Secured Claim of RS Lending

110       1021 HAVEN ST, MOUNT MORRIS MI 48458              MI
      a         Unknown party in possession
      b         GENESEE CO TREASURER                             PROPERTY TAXES
      c         GENESEE CO TREASURER                             CODE VIOLATIONS
      c         CHARTER TOWNSHIP OF GENESEE                      CODE VIOLATIONS
      d         GENESEE CO TREASURER                             UTILITY LIEN
      f         Secured Claim of RS Lending

111       1047 N WOOD ST, MUSKEGON MI 49442                 MI
      a         Unknown party in possession
      b         MUSKEGON TAX COLLECTOR                           PROPERTY TAXES
      e         SAFE BUILT
      f         Secured Claim of RS Lending

          10585 N LAKE ROAD, IRONWOOD MI 49938              MI
112   a         Unknown party in possession
      b         GOGEBIC CO TREASURER                             PROPERTY TAXES
      c         CHARTER TOWNSHIP OF IRONWOOD
      d         TOWNSHIP OF IRONWOOD                             UTILITY LIEN
      f         Secured Claim of RS Lending

113       13744 FENELON, HAMTRAMCK MI 48212                 MI
      a         Unknown party in possession
      b         DETROIT CITY TREASURER                           PROPERTY TAXES
      c         CITY OF DETROIT                                  COMPLAINT - ANNUAL INSPECTION
      f         Secured Claim of RS Lending

114       1735 PROSPECT STREET, FLINT MI 48504              MI
      a         Unknown party in possession
      b         GENESEE CO TREASURER                             PROPERTY TAXES
      f         Secured Claim of RS Lending

115       1946 HOSLER ST, FLINT MI 48503                    MI
      a         Unknown party in possession
      b         FLINT CITY TAX COLLECTOR                         PROPERTY TAXES
      b         GENESEE CO TREASURER                             PROPERTY TAXES
      c         CITY OF FLINT                                    CODE VIOLATION ( BLIGHT - VN)
      f         Secured Claim of RS Lending

116       2001 MALLERY ST, FLINT MI 48504                   MI
      a         Unknown party in possession
      b         GENESEE CO TREASURER                             PROPERTY TAXES
      f         Secured Claim of RS Lending

117       2002 DAKOTA AVE, FLINT MI 48506                   MI
      a         Unknown party in possession
      b         FLINT CITY TAX COLLECTOR                         PROPERTY TAXES
      b         GENESEE CO TREASURER                             PROPERTY TAXES




                                                     10
           Case 6:17-bk-07077-KSJ                  Doc 206   Filed 08/23/18          Page 34 of 45


      c         GENESEE CO TREASURER                              CODE VIOLATIONS
      f         Secured Claim of RS Lending

118       204 BEULAH AVE, BATTLE CREEK MI 49015              MI
      a         Unknown party in possession
      b         BEDFORD TAX COLLECTOR                             PROPERTY TAXES
      b         CALHOUN CO TREASURER                              PROPERTY TAXES
      c         CALHOUN CO TAX COLLECTOR
      f         Secured Claim of RS Lending

119       2049 STANFORD AVE, FLINT MI 48503                  MI
      a         Unknown party in possession
      b         GENESEE CO TREASURER                              PROPERTY TAXES
      c         GENESEE COUNTY
      f         Secured Claim of RS Lending

120       2229 EMMONS AVE, WARREN MI 48088                   MI
      a         Unknown party in possession
      b         MACOMB COUNTY TREASURER                           PROPERTY TAXES
      b         CITY OF WARREN TREASURER                          PROPERTY TAXES
      c         MACOMB COUNTY
      c         CITY OF WARREN                                    CODE VIOLATION
      f         Secured Claim of RS Lending

121       234 ALLEN AVE, MUSKEGON MI 49442                   MI
      a         Unknown party in possession
      b         MUSKEGON TAX COLLECTOR                            PROPERTY TAXES
      b         MUSKEGON CO TREASURER                             PROPERTY TAXES
      c         CITY OF MUSKEGON                                  CODE VIOLATIONS
      d         MUSKEGAN CITY WATER                               UTILITY LIEN
      f         Secured Claim of RS Lending



122       2618 WOLCOTT ST, FLINT MI 48504                    MI
      a         Unknown party in possession
      b         FLINT CITY TAX COLLECTOR                          PROPERTY TAXES
      b         GENESEE CO TREASURER                              PROPERTY TAXES
      f         Secured Claim of RS Lending

123       2907 MASON ST, FLINT MI 48504                      MI
      a         Unknown party in possession
      b         GENESEE CO TREASURER                              PROPERTY TAXES
      b         CITY OF FENTON                                    PROPERTY TAXES
      c         GENESEE COUNTY
      f         Secured Claim of RS Lending

124       2924 7TH ST, MUSKEGON HEIGHTS MI 49444             MI
      a         Unknown party in possession
      b         MUSKEGON CO TAX COLLECTOR                         PROPERTY TAXES
      b         CITY OF MUSKEGON HEIGHTS                          PROPERTY TAXES
      c         CITY OF MUSKEGON HEIGHTS                          OPEN CODE VIOLATIONS
      f         Secured Claim of RS Lending

125       335 NORMAN ST, CARO MI 48723                       MI
      a         Unknown party in possession
      b         TUSCOLA CO TAX COLLECTOR                          PROPERTY TAXES
      b         TUSCOLA COUNTY TREASURER                          PROPERTY TAXES
      d         CITY OF CARO
      f         Secured Claim of RS Lending

126       3350 DIXIE CT, SAGINAW MI 48601                    MI
      a         Unknown party in possession
      b         BRIDGEPORT TAX COLLECTOR                          PROPERTY TAXES
      c         SAGINAW CO TREASURER
      d         BRIDGEPORT TOWNSHIP                               UTILITY LIEN
      e         INTERNAL REVENUE SERVICE                          FEDERAL TAX LIEN




                                                      11
           Case 6:17-bk-07077-KSJ                  Doc 206   Filed 08/23/18        Page 35 of 45


      f          Secured Claim of RS Lending

127       34 MAPLE TERRACE, BATTLE CREEK MI 49015            MI
      a          Unknown party in possession
      b          BATTLE CREEK TAX COLLECTOR                       PROPERTY TAXES
      b          CALHOUN CO TREASURER                             PROPERTY TAXES
      c          CALHOUN CO TREASURER
      c          CITY OF BATTLE CREEK                             OPEN CODE VIOLATIONS
      f          Secured Claim of RS Lending

128       3411 BROWNELL BLVD, FLINT MI 48504                 MI
      a          Unknown party in possession
      b          FLINT CITY TAX COLLECTOR                         PROPERTY TAXES
      b          GENESEE CO TREASURER                             PROPERTY TAXES
      c          GENESEE CO TREASURER
      d          CITY OF FLINT                                    UTILITY LIEN
      f          Secured Claim of RS Lending

129       475 SOUTH STATE ST, OTISVILLE MI 48463             MI
      a          Unknown party in possession
      b          GENESEE CO TREASURER                             NON PAYMENT OF PROPERTY TAXES.
      b          FOREST TOWNSHIP TAX COLLECTOR                    PROPERTY TAXES
      b          GENESEE COUNTY                                   PROPERTY TAXES
      f          Secured Claim of RS Lending

130       598 BROADWAY AVE, BENTON HARBOR MI 49022           MI
      a          Unknown party in possession
      b          MICHIGAN DEPT OF TREASURY                        CERTIFICATION OF FORFEITURE OF REAL
                                                                  PROPERTY - NON PAYMENT OF PROPERTY
                                                                  TAX
      b          BERRIEN CO TAX COLLECTOR                         PROPERTY TAXES
      e          INTERNAL REVENUE SERVICE                         FEDERAL TAX LIEN 2009/2010 1040
      f          Secured Claim of RS Lending

131       611 W 2ND ST, PINCONNING MI 48650                  MI
      a          Unknown party in possession
      b          BAY CO TREASURER                                 PROPERTY TAXES
      d          City of Pinconning Water Dept                    Utility lien
      f          Secured Claim of RS Lending

132       62 BIDWELL ST W, BATTLE CREEK MI 49015             MI
      a          Unknown party in possession
      b          CALHOUN CO TREASURER                             PROPERTY TAXES
      c          CALHOUN CO TREASURER
      f          Secured Claim of RS Lending

133       99 Clay St, Battle Creek. MI 49015                 MI
      a          Unknown party in possession
      b          BATTLE CREEK TAX COLLECTOR                       PROPERTY TAXES
      b          CALHOUN CO TREASURER                             PROPERTY TAXES
      c          CITY OF BATTLE CREEK                             OPEN CODE VIOLATIONS
      d          CITY OF BATTLE CREEK                             UTILITY LIEN
      f          Secured Claim of RS Lending

134       1016 CENTRAL ST, JOPLIN MO 64801                   MO
      a          Unknown party in possession
      b          JASPER CO COLLECTOR                              PROPERTY TAXES
      c          CITY OF JOPLIN                                   CODE VIOLATION
      f          Secured Claim of RS Lending

135       105 BELL ST, EXCELSIOR SPRINGS MO 64024            MO
      a          Unknown party in possession
      b          CLAY COUNTY COLLECTOR                            PROPERTY TAXES
      f          Secured Claim of RS Lending

136       13552 E SUNRISE LAKE DR, DE SOTO MO 63020          MO
      a          Unknown party in possession




                                                      12
           Case 6:17-bk-07077-KSJ                    Doc 206   Filed 08/23/18        Page 36 of 45


      b          JEFFERSON CO TAX COLLECTOR                         PROPERTY TAXES
      c          JEFFERSON CO BUILDING DEPT                         CODE VIOLATION
      d          CITY OF DE SOTO                                    UTILITY LIEN
      f          Secured Claim of RS Lending

137       13841 APACHE WAY, GREENTOP MO 63546                  MO
      a          Unknown party in possession
      b          ADAIR CO COLLECTOR                                 PROPERTY TAXES
      f          Secured Claim of RS Lending

138       1736 CRYSTAL CT, ST LOUIS MO 63130                   MO
      a          Unknown party in possession
      b          ST LOUIS CO COLLECTOR                              PROPERTY TAXES
      c          ST LOUIS COUNTY
      d          ST LOUIS SEWER DISTRICT                            UTILITY LIEN
      e          MISSOURI DEPT OF REVENUE                           INDIVIDUAL INCOME TAX
      f          Secured Claim of RS Lending

139       2019 MONTGALL AVE, KANSAS CITY MO 64101              MO
      a          Unknown party in possession
      b          JACKSON CO COLLECTOR                               PROPERTY TAXES
      d          Kansas City Water Dept.                            UTILITY LIEN
      f          Secured Claim of RS Lending

140       2925 LYNDHURST AVE, ST LOUIS MO 63130                MO
      a          Unknown party in possession
      b          MISSOURI DEPT OF REVENUE                           INDIVIDUAL INCOME TAX
      b          ST. LOUIS CO COLLECTOR                             PROPERTY TAXES
      d          ST LOUIS SEWER DISTRICT                            UTILITY LIEN
      f          Secured Claim of RS Lending

141       3118 WHITTIER ST, ST. LOUIS MO 63130                 MO
      a          Unknown party in possession
      b          ST LOUIS CITY COLLECTOR                            PROPERTY TAXES
      c          CITY OF ST LOUIS                                   OPEN/EXPIRED PERMITS
      d          CITY OF ST LOUIS                                   UTILITY LIEN
      f          Secured Claim of RS Lending

142       33212 CIRCLE DR, SUNRISE BEACH MO 65079              MO
      a          Unknown party in possession
      b          MORGAN COUNTY                                      PROPERTY TAXES
      f          Secured Claim of RS Lending

143       3411 E 36TH ST, KANSAS CITY MO 64101                 MO
      a          Unknown party in possession
      b          JACKSON CO COLLECTOR                               PROPERTY TAXES
      d          Kansas City Water Dept.                            UTILITY LIEN
      f          Secured Claim of RS Lending

144       4857 PALM ST, ST. LOUIS MO 63130                     MO
      a          Unknown party in possession
      b          ST LOUIS CITY COLLECTOR                            PROPERTY TAXES
      d          ST LOUIS SEWER DISTRICT                            UTILITY LIEN
      f          Secured Claim of RS Lending

145       4912 Arlington Ave , St. Louis, MO 63120             MO
      a          Unknown party in possession
      b
      c          SAINT LOUIS CITY
      c          ST. LOUIS PERMITS SECTION                          OPEN/EXPIRED PERMITS FOUND
      d          CITY OF ST LOUIS                                   UTILITY LIEN
      f          Secured Claim of RS Lending

146       534 S HARDY AVE, INDEPENDENCE MO 64050               MO
      a          Unknown party in possession
      b          JACKSON CO COLLECTOR                               PROPERTY TAXES




                                                        13
           Case 6:17-bk-07077-KSJ                Doc 206   Filed 08/23/18         Page 37 of 45


      c          CITY OF INDEPENDENCE
      f          Secured Claim of RS Lending

147       5811 THEODORE AVE, ST LOUIS MO 63120             MO
      a          Unknown party in possession
      b          SAINT LOUIS CITY                               PROPERTY TAXES
      c          ST. LOUIS PUBLIC SAFETY                        EXPIRED PERMITS
      d          ST LOUIS SEWER DISTRICT                        UTILITY LIEN
      e          ST LOUIS SEWER DISTRICT                        LIEN
      f          Secured Claim of RS Lending

148       6833 BALES AVE, KANSAS CITY MO 64132             MO
      a          Unknown party in possession
      b          JACKSON CO COLLECTOR                           PROPERTY TAXES
      d          Kansas City Water Dept.                        UTILITY LIEN
      f          Secured Claim of RS Lending

149       707 S ORCHARD ST, CLINTON MO 64735               MO
      a          Unknown party in possession
      b          HENRY CO COLLECTOR                             PROPERTY TAXES
      f          Secured Claim of RS Lending

150       8451 Lowell St., St. Louis, MO 63130             MO
      a          Unknown party in possession
      b          ST LOUIS CITY COLLECTOR                        PROPERTY TAXES
      c          CITY OF ST LOUIS                               PERMIT
      d          ST LOUIS SEWER DISTRICT                        UTILITY LIEN
      f          Secured Claim of RS Lending

151       8846 BOBB AVE, ST LOUIS MO 63130                 MO
      a          Unknown party in possession
      b          ST. LOUIS CO COLLECTOR                         PROPERTY TAXES
      d          ST LOUIS SEWER DISTRICT                        UTILITY LIEN
      f          Secured Claim of RS Lending

152       147 LOUISIANA AVE, JACKSON MS 39209              MS
      a          Unknown party in possession
      b          HINDS CO TREASURER                             PROPERTY TAXES
      e          CITY COUNCIL HINDS CO. MS                      JUDGMENT
      f          Secured Claim of RS Lending

153       157 W MADISON ST, DURANT MS 39063                MS
      a          Unknown party in possession
      b          HOLMES CO CHANCERY CLERK                       PROPERTY TAXES
      f          Secured Claim of RS Lending

154       174 ROAD OF REMEMBRANCE, JACKSON MS 39209        MS
      a          Unknown party in possession
      b          HINDS CO TREASURER                             PROPERTY TAXES
      f          Secured Claim of RS Lending

155       237 SEWANEE, JACKSON MS 39209                    MS
      a          Unknown party in possession
      b          HINDS CO TREASURER                             PROPERTY TAXES
      f          Secured Claim of RS Lending

156       2522 JEFFERSON AVE, PASCAGOULA MS 39567          MS
      a          Unknown party in possession
      b          JACKSON CO TAX COLLECTOR                       PROPERTY TAXES
      f          Secured Claim of RS Lending

157       2813 MARYDALE DR, JACKSON MS 39209               MS
      a          Unknown party in possession
      b          HINDS CO TAX COLLECTOR                         PROPERTY TAXES
      c          HINDS CO CHANCERY CLERK
      f          Secured Claim of RS Lending




                                                    14
           Case 6:17-bk-07077-KSJ                    Doc 206   Filed 08/23/18        Page 38 of 45



158       363 LAMAR ST, DURANT MS 39063                        MS
      a          Unknown party in possession
      b          HOLMES COUNTY                                      PROPERTY TAXES
      c          HOLMES CO CHANCERY CLERK
      e          EDGEWOOD LLC
      f          Secured Claim of RS Lending

159       390 SWEET GUM BOTTOM RD, MERIDIAN MS 39301           MS
      a          Unknown party in possession
      b          LAUDERDALE CO TAX COLLECTOR                        PROPERTY TAXES
      c          COUNTY CHANCERY CLERK
      f          Secured Claim of RS Lending

160       504 MITCHELL ST, PICAYUNE MS 39466                   MS
      a          Unknown party in possession
      b          PEARL RIVER CO TAX COLLECTOR                       PROPERTY TAXES
      f          Secured Claim of RS Lending

161       514 W HILLSDALE, JACKSON MS 39209                    MS
      a          Unknown party in possession
      b          HINDS CO TAX COLLECTOR                             PROPERTY TAXES
      f          Secured Claim of RS Lending

162       54 TREST RD, HEIDELBERG MS 39439                     MS
      a          Unknown party in possession
      b          JONES COUNTY TAX COLLECTOR                         PROPERTY TAXES
      f          Secured Claim of RS Lending

163       603 111TH ST, AMORY MS 38821                         MS
      a          Unknown party in possession
      b          CITY CLERK & TAX COLLECTOR
      b          MONROE CO CHANCERY CLERK                           PROPERTY TAXES
      b          MONROE COUNTY TAX COLLECTOR                        TAXES
      f          Secured Claim of RS Lending

164       913 WINN ST, JACKSON MS 39209                        MS
      a          Unknown party in possession
      b          HINDS CO TAX COLLECTOR                             PROPERTY TAXES
      f          Secured Claim of RS Lending

165       1202 Montilieu Ave, High Point, NC 27262             NC
      a          Unknown party in possession
      b          Guilford Co Tax Collector                          PROPERTY TAXES
      f          Secured Claim of RS Lending

166       125 PATSY LEMONS LN, LILLINGTON NC 27546             NC
      a          Unknown party in possession
      b          HARNETT CO TAX COLLECTOR                           PROPERTY TAXES
      f          Secured Claim of RS Lending

167       172 US HWY 158 W, GATESVILLE NC 27938                NC
      a          Unknown party in possession
      b          GATES CO TAX COLLECTOR                             PROPERTY TAXES
      f          Secured Claim of RS Lending

168       306 BUCHANAN LN, BURNSVILLE NC 28714                 NC
      a          Unknown party in possession
      b          YANCEY CO TAX COLLECTOR                            PROPERTY TAXES
      f          Secured Claim of RS Lending

169       316 BONNER BRIDGE ROAD, AULANDER NC 27805            NC
      a          Unknown party in possession
      b          HERTFORD CO TAX COLLECTOR                          PROPERTY TAXES
      f          Secured Claim of RS Lending




                                                        15
           Case 6:17-bk-07077-KSJ                 Doc 206   Filed 08/23/18        Page 39 of 45


170       411 PERU RD, MORVEN NC 28119                      NC
      a         Unknown party in possession
      b         ANSON CO TAX COLLECTOR                           PROPERTY TAXES
      b         Secured Claim of RS Lending

171       1021 WYOMING ST, DAYTON OH 45402                  OH
      a         Unknown party in possession
      b         MONTGOMERY CO TREASURER                          PROPERTY TAXES
      d         DAYTON WATER DEPT                                UTILITY LIEN
      f         Secured Claim of RS Lending

172       1060 OLMSTEAD AVE, COLUMBUS OH 43201              OH
      a         Unknown party in possession
      b         FRANKLIN CO TREASURER                            PROPERTY TAXES
      f         Secured Claim of RS Lending

173       1111 W RIVERVIEW AVE, DAYTON OH 45402             OH
      a         Unknown party in possession
      b         MONTGOMERY CO TREASURER                          PROPERTY TAXES
      d         DAYTON WATER DEPT                                UTILITY LIEN
      f         Secured Claim of RS Lending

174       1128 MANSION AVE, CINCINNATI OH 45202             OH
      a         Unknown party in possession
      c         HAMILTON CO TREASURER                            PROPERTY TAXES
      c         DEPARTMENT INSPECTIONS                           VACANT BUILDING MNT LICENSE RENEWAL
      e         JOSEPH STERBLING; KUI PAN                        JUDGMENT
      e         JOSEPH STERBLING EL AL                           JUDGMENT
      f         Secured Claim of RS Lending

175       11405 MELBA AVE, CLEVELAND OH 44120               OH
      a         Unknown party in possession
      b         CUYAHOGA COUNTY TREASURER                        PROPERTY TAXES
      d         CLEVELAND WATER                                  UTILITY LIEN
      d         NORTHEAST OHIO REGIONAL SEWER DISTRICT           UTILITY LIEN
      f         Secured Claim of RS Lending

176       1144 WASHINGTON AVE, LORAIN OH 44052              OH
      a         Unknown party in possession
      b         LORAIN COUNTY TREASURER                          PROPERTY TAXES
      d         LORAIN WATER DEPT                                UTILITY LIEN
      f         Secured Claim of RS Lending

177       1216 GILSEY AVE, CINCINNATI OH 45202              OH
      a         Unknown party in possession
      b         HAMILTON CO TREASURER                            PROPERTY TAXES
      c         CITY OF CINCINNATI CODE ENFORCEMENT              CODE VIOLATION
      e         JOSEPH STERBLING; KUI PAN                        JUDGMENT LIEN
      e         JOSEPH STERBLING EL AL                           JUDGMENT
      f         Secured Claim of RS Lending

178       1260 E 59TH ST, CLEVELAND OH 44103                OH
      a         Unknown party in possession
      b         CUYAHOGA COUNTY TREASURER                        PROPERTY TAXES
      d         CLEVELAND WATER                                  UTILITY LIEN
      d         NORTHEAST OHIO REGIONAL SEWER DISTRICT           UTILITY LIEN
      f         Secured Claim of RS Lending

179       1317 WELLESLEY AVE, STEUBENVILLE OH 43952         OH
      a         Unknown party in possession
      b         JEFFERSON CO TREASURER                           PROPERTY TAXES
      d         STEUBENVILLE WATER DEPT                          UTILITY LIEN
      f         Secured Claim of RS Lending

180       1319 E 91ST ST, CLEVELAND OH 44120                OH
      a         Unknown party in possession




                                                      16
           Case 6:17-bk-07077-KSJ                 Doc 206   Filed 08/23/18        Page 40 of 45


      b         CUYAHOGA CO TREASURER                            PROPERTY TAXES
      d         CLEVELAND WATER                                  UTILITY LIEN
      d         NORTHEAST OHIO                                   UTILITY LIEN
      f         Secured Claim of RS Lending

181       1342 SOUTH STREET SE, WARREN OH 44481             OH
      a         Unknown party in possession
      b         Trumball Co Treasurer                            PROPERTY TAXES
      e         TRUMBULL CO LAND REUTILIZATION
      f         Secured Claim of RS Lending

182       1404 ANDRUS ST, AKRON OH 44301                    OH
      a         Unknown party in possession
      b         SUMMIT CO FISCAL OFFICE                          PROPERTY TAXES
      c         CITY OF AKRON                                    UTILITY LIEN
      f         Secured Claim of RS Lending

183       141 SCHOOL ST, LA RUE OH 43332                    OH
      a         Unknown party in possession
      b         MARION COUNTY TREASURER                          PROPERTY TAXES
      d         MARION CO AUDITOR                                UTILITY LIEN
      f         Secured Claim of RS Lending

184       14612 ORINOCO AVE, CLEVELAND OH 44120             OH
      a         Unknown party in possession
      b         CUYAHOGA COUNTY TREASURER                        PROPERTY TAXES
      d         CLEVELAND WATER                                  UTILITY LIEN
      d         NORTHEAST OHIO REGIONAL SEWER DISTRICT           UTILITY LIEN
      f         Secured Claim of RS Lending

185       1729 ROSEDALE, EAST CLEVELAND OH 44110            OH
      a         Unknown party in possession
      b         CUYAHOGA COUNTY TREASURER                        PROPERTY TAXES
      d         CLEVELAND WATER                                  UTILITY LIEN
      d         NORTHEAST OHIO REGIONAL SEWER DISTRICT           UTILITY LIEN
      f         Secured Claim of RS Lending

186       1803 S RIDGE RD, ASHTABULA OH 44004               OH
      a         Unknown party in possession
      b         ASHTABULA CO TREASURER                           PROPERTY TAXES
      f         Secured Claim of RS Lending

187       2160 SOUTHWEST 11TH ST, AKRON, OH 44301           OH
      a         Unknown party in possession
      b         SUMMIT CO FISCAL OFFICE                          PROPERTY TAXES
      f         Secured Claim of RS Lending

188       221 CURRY PL, YOUNGSTOWN OH 44511                 OH
      a         Unknown party in possession
      b         MAHONING CO TREASURER                            PROPERTY TAXES
      c         CITY OF YOUNGSTOWN                               GRASS CUTTING AND HOUSING VIOLATIONS
      d         Youngstown Water Dept                            UTILITY LIEN
      f         Secured Claim of RS Lending

189       250 HELEN AVE, MANSFIELD OH 44902                 OH
      a         Unknown party in possession
      b         RICHLAND COUNTY TREASURER                        PROPERTY TAXES
      d         CITY OF MANSFIELD                                UTILITY LIEN
      f         Secured Claim of RS Lending

190       2817 MERRIWEATHER ST NW, WARREN OH 44481          OH
      a         Unknown party in possession
      b         TRUMBULL CO TREASURER                            PROPERTY TAXES
      f         Secured Claim of RS Lending

191       304 CLOVER ST, DAYTON OH 45402                    OH




                                                     17
           Case 6:17-bk-07077-KSJ                     Doc 206   Filed 08/23/18        Page 41 of 45


      a         Unknown party in possession
      b         MONTGOMERY CO TREASURER                              PROPERTY TAXES
      c         CITY OF DAYTON                                       OPEN CODE VIOLATIONS
      d         CITY OF DAYTON                                       UTILITY LIEN
      f         Secured Claim of RS Lending

192       3103 COUNTY ROAD N-30, EDON OH 43518                  OH
      a         Unknown party in possession
      b         WILLIAMS CO TREASURER                                PROPERTY TAXES
      f         Secured Claim of RS Lending

193       3128 FIRNLEY AVE, YOUNGSTOWN OH 44511                 OH
      a         Unknown party in possession
      b         MAHONING CO TREASURER                                PROPERTY TAXES
      c         CITY OF YOUNGSTOWN                                   OPEN CODE VIOLATIONS
      f         Secured Claim of RS Lending

194       3332 E 128TH ST, CLEVELAND OH 44120                   OH
      a         Unknown party in possession
      b         CUYAHOGA COUNTY TREASURER                            PROPERTY TAXES
      d         CLEVELAND WATER                                      UTILITY LIEN
      f         Secured Claim of RS Lending

195       3378 E 132ND ST, CLEVELAND OH 44120                   OH
      a         Unknown party in possession
      b         CUYAHOGA COUNTY TREASURER                            PROPERTY TAXES
      d         CLEVELAND WATER                                      UTILITY LIEN
      f         Secured Claim of RS Lending

196       3432 HUDSON AVE, YOUNGSTOWN OH 44511                  OH
      a         Unknown party in possession
      b         MAHONING CO TREASURER                                PROPERTY TAXES
      c         City of Youngstown Code Enforcement                  OPEN CODE VIOLATIONS
      f         Secured Claim of RS Lending

197       3471 Watson Marshall Road, McDonald, OH 44437         OH
      a         Unknown party in possession
      b         TRUMBULL CO TREASURER                                PROPERTY TAXES
      d         McDonald Water Dept                                  UTILITY LIEN
      f         Secured Claim of RS Lending

198       3608 RISHER RD, YOUNGSTOWN OH 44511                   OH
      a         Unknown party in possession
      b         MAHONING CO TREASURER                                PROPERTY TAXES
      c         City of Youngstown Code Enforcement                  OPEN CODE VIOLATIONS
      f         Secured Claim of RS Lending

199       549 CAMERON AVE, YOUNGSTOWN OH 44502                  OH
      a         Unknown party in possession
      b         MAHONING CO TREASURER                                PROPERTY TAXES
      c         City of Youngstown Code Enforcement                  OPEN CODE VIOLATIONS
      f         Secured Claim of RS Lending

200       5737 LIBERTY HILL RD, CHILLICOTHE OH 45601            OH
      a         Unknown party in possession
      b         ROSS COUNTY TREASURER                                PROPERTY TAXES
      f         Secured Claim of RS Lending

201       62 S GARFIELD ST, DAYTON OH 45402                     OH
      a         Unknown party in possession
      b         MONTGOMERY CO TREASURER                              PROPERTY TAXES
      d         CITY OF DAYTON                                       UTILITY LIEN
      f         Secured Claim of RS Lending

202       6303 US ROUTE 35 E, WEST ALEXANDRIA OH 45381          OH
      a         Unknown party in possession




                                                          18
           Case 6:17-bk-07077-KSJ                   Doc 206   Filed 08/23/18            Page 42 of 45


      b         PREBLE CO TREASURER                                PROPERTY TAXES
      f         Secured Claim of RS Lending

203       728 WHITMORE AVE, DAYTON OH 45402                   OH
      a         Unknown party in possession
      b         MONTGOMERY CO TREASURER                            PROPERTY TAXES
      d         DAYTON WATER DEPT                                  UTILITY LIEN
      e         INTERNAL REVENUE SERVICE                           FEDERAL TAX LIEN
      f         Secured Claim of RS Lending

204       75 WOODROW ST, HAMILTON OH 45013                    OH
      a         Unknown party in possession
      b         BUTLER CO TREASURER                                PROPERTY TAXES
      d         Hamilton Utilities                                 UTILITY LIEN
      f         Secured Claim of RS Lending

205       924 E 129TH ST, CLEVELAND OH 44108                  OH
      a         Unknown party in possession
      b         CUYAHOGA COUNTY TREASURER                          PROPERTY TAXES
      d         CITY OF CLEVELAND                                  UTILITY LIEN
      d         NORTHEAST OHIO REGIONAL SEWER DISTRICT             UTILITY LIEN
      f         Secured Claim of RS Lending

206       996 MAIN ST, WELLSVILLE OH 43968                    OH
      a         Unknown party in possession
      b         COLUMBIANA CO TREASURER                            PROPERTY TAXES
      f         Secured Claim of RS Lending

207       221 S MAIN ST, OKEENE OK 73763                      OK
      a         Unknown party in possession
      b         BLAINE COUNTY TREASURER                            PROPERTY TAXES
      f         Secured Claim of RS Lending

208       2429 COX CITY RD, RUSH SPRINGS OK 73082             OK
      a         Unknown party in possession
      b         GRADY CO TREASURER                                 PROPERTY TAXES
      f         Secured Claim of RS Lending

209       410 KNOX AVE, MONESSEN PA 15062                     PA
      a         Unknown party in possession
      b         WESTMORELAND TAX BUREAU                            PROPERTY TAXES
      b         MONESSEN CITY                                      PROPERTY TAXES
      d         City of Monessen                                   UTILITY LIEN
      f         Secured Claim of RS Lending

210       2172 JEWELL RIDGE RD, RICHLANDS VA 24641            VA
      a         Unknown party in possession
      b         TAZEWELL CO TREASURER                              PROPERTY TAXES
      f         Secured Claim of RS Lending

211       255 HOWELAND CIR, DANVILLE VA 24541                 VA
      a         Unknown party in possession
      b         CITY OF DANVILLE DEPT. OF FINANCE                  PROPERTY TAXES
      b         TAXING AUTHORITY CONSULTING, P.C.                  TAX LIEN
      c         KENNETH F. LARKING                                 Abatement of a nuisance on the property
      f         Secured Claim of RS Lending

212       29042 US HWY 23, BIG STONE GAP VA 24219             VA
      a         Unknown party in possession
      b         TAXING AUTHORITY CONSULTING PC                     PROPERTY TAXES
      b         LEE COUNTY TREASURER                               PROPERTY TAXES
      f         Secured Claim of RS Lending

213       935 BLANKENSHIP RD, MARTINSVILLE VA 24112           VA
      a         Unknown party in possession
      b         MARTINSVILLE CITY TREASURER                        PROPERTY TAXES




                                                       19
           Case 6:17-bk-07077-KSJ               Doc 206   Filed 08/23/18        Page 43 of 45


      e          PLANTATIION EAST LTD                          ABSTRACT OF JUDGMENT
      f          Secured Claim of RS Lending

214       1116 13TH ST, RACINE WI 53403                   WI
      a          Unknown party in possession
      b          RACINE COUNTY TREASURER                       PROPERTY TAXES
      c          CITY OF RACINE WISCONSIN                      CODE VIOLATION
      f          Secured Claim of RS Lending



215       2854 N 28TH ST, MILWAUKEE WI 53212              WI
      a          Unknown party in possession
      b          MILWAUKEE TREASURER                           PROPERTY TAXES
      d          CITY OF MILWAUKEE                             UTILITY LIEN
      e          CITY OF MILWAUKEE                             JUDGMENT
      f          Secured Claim of RS Lending

216       2917 N 16TH ST, MILWAUKEE, WI 53212             WI
      a          Unknown party in possession
      b          MILWAUKEE TREASURER                           PROPERTY TAXES
      f          Secured Claim of RS Lending

217       3046 N 7TH ST, MILWAUKEE WI 53212               WI
      a          Unknown party in possession
      b          CITY OF MILWAUKEE                             PROPERTY TAXES
      d          CITY OF MILWAUKEE                             UTILITY LIEN
      e          PRIME FINANCIAL CREDIT UNION                  JUDGMENT
      f          Secured Claim of RS Lending

218       136 James St., St. Albans, WV 25177             WV
      a          Unknown party in possession
      b          KANAWHA CO TAX OFFICE                         PROPERTY TAXES
      f          Secured Claim of RS Lending

219       1612 N 16TH ST, CLARKSBURG WV 26301             WV
      a          Unknown party in possession
      b          HARRISON CO TREASURER
      c          WEST VIRGINIA ST AUDITOR                      DEMOLITION OF STRUCTURE
      c          CITY OF CLARKSBURG
      f          Secured Claim of RS Lending

220       180 N MAIN ST, KEYSER WV 26726                  WV
      a          Unknown party in possession
      b          SHERIFF OF MINERAL CO                         PROPERTY TAXES
      b          HON JOHN B. McCLUSKEY, STATE AUDITOR          PROPERTY TAXES
      f          Secured Claim of RS Lending

221       339 GREEN VALLEY DR, ST ALBANS WV 25177         WV
      a          Unknown party in possession
      b          KANAWHA CO TAX OFFICE                         PROPERTY TAXES
      e          NAJ LLC
      f          Secured Claim of RS Lending

222       449 CHURCH STREET, ELKVIEW WV 25071             WV
      a          Unknown party in possession
      b          SHERIFF OF MINERAL CO                         PROPERTY TAXES
      b          HON JOHN B. McCLUSKEY, STATE AUDITOR          PROPERTY TAXES
      e          HUGHART BRUCE E.
      f          Secured Claim of RS Lending

223       923 CEDAR ST, KEMMERER WY 83101                 WY
      a          Unknown party in possession
      b          LINCOLN CO TREASURER                          PROPERTY TAXES
      f          Secured Claim of RS Lending




                                                    20
Case 6:17-bk-07077-KSJ   Doc 206   Filed 08/23/18   Page 44 of 45




                         EXHIBIT B

                 REMAINING PROPERTIES
                  Case 6:17-bk-07077-KSJ                 Doc 206 Filed 08/23/18         Page 45 of 45
                                                         EXHIBIT B


Class #   Sub Class                       Property Name                  State                Lien Nature


    224               7037 South Eggleston Ave, Chicago, IL 60621   IL
             a             Unknown party in possession
             b             Treasurer of Cook County                              PROPERTY TAXES
             f             Secured claim of RS Lending

    225               41449 Richard Miles Rd, Gonzales, LA 70737    LA
             a             Unknown party in possession
             b             Ascension Parish Assessor                             PROPERTY TAXES
             f             Secured claim of RS Lending

    226               7375 Richey Drive, Baton Rouge, LA 70812      LA
             a             Unknown party in possession
             b             East Baton Rouge Parish Assessor                      PROPERTY TAXES
             f             Secured claim of RS Lending

    227               1360 Homestead St, Baltimore, MD 32328        MD
             a             Unknown party in possession
             b             Bureau of Revenue Collections                         PROPERTY TAXES
             b             RVFM 11 Serices, LLC                                  PROPERTY TAXES
             f             Secured claim of RS Lending
